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   1                           UNITED STATES BANKRUPTCY COURT

   2                          NORTHERN DISTRICT OF CALIFORNIA

   3                                             -oOo-

   4     In Re:                                   ) Case No. 19-30088
                                                  ) Chapter 11
   5     PG&E CORPORATION AND PACIFIC             )
         GAS AND ELECTRIC COMPANY                 ) San Francisco, California
   6                                              ) Wednesday, August 7, 2019
                             Debtor.              ) 9:30 AM
   7     _____________________________            )
                                                    MOTION OF THE OFFICIAL
   8                                                COMMITTEE OF TORT CLAIMANTS
                                                    TO COMPEL PRODUCTION OF
   9                                                THIRD-PARTY CONTRACTOR
                                                    DOCUMENTS
  10
                                                    STATUS CONFERENCE RE
  11                                                DISCOVERY

  12                              TRANSCRIPT OF PROCEEDINGS
                             BEFORE THE HONORABLE DENNIS MONTALI
  13                           UNITED STATES BANKRUPTCY JUDGE

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   1      SAN FRANCISCO, CALIFORNIA, WEDNESDAY, AUGUST 7, 2019, 9:32 AM

   2                                               -oOo-

   3             (Call to order of the Court.)

   4                 THE CLERK:       Court is now in session, the Honorable

   5     Dennis Montali presiding.               The matter of PG&E Corporation.

   6                 THE COURT:       All right, good morning, counsel on the

   7     phone.     I thought, with my invitation for a phone conference,

   8     that somebody would come to court, but here I have an empty

   9     courtroom, so what a cha -- what a deal.

  10                 Let me just double-check if my four invited guests are

  11     on the call.

  12                 Mr. Julian, are you there?

  13                 MR. JULIAN:       Yes, Your Honor.         And with me are

  14     Kimberly Morris and Kody Kleber, who are hand -- who are

  15     handling the discovery issues since they arose.

  16                 THE COURT:       Okay, and Mr. Fuller, are you with us?

  17                 MR. FULLER:       Yes, Your Honor.         Good morning.

  18                 THE COURT:       Good morning.

  19                 And Mr. Karotkin?

  20                 Mr. Karotkinon the call?

  21                 No?      How about Mr. Orsini?

  22                 Well, that's not encouraging, those are the two people

  23     I wanted on the phone.           I have Mr. Orsini's name on the call

  24     list.     Our -- is anyone from Mr. Orsini's firm on the call?

  25                 Hm.      Well, this is going to be a quick hearing.

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   1                Mr. Julian, have you been in touch with either -- or

   2     particularly Mr. Orsini about the discovery issues?

   3                MR. ORSINI:       Hello, Your Honor?

   4                THE COURT:       Yeah.       Hello?

   5                MR. ORSINI:       Is anyone here?

   6                THE COURT:       All right, let's try again.              Who was that

   7     who just spoke up?        Was that Mr. Orsini?

   8                MR. ORSINI:       It is, Your Honor.          I don't know why you

   9     were unable to hear me the first couple of times

  10     (indiscernible) my line, I apologize --

  11                THE COURT:       Okay.

  12                MR. ORSINI:       -- but I am here.

  13                THE COURT:       How about Mr. Karotkin?

  14                No?      Well, okay.        Well, all right.      I wanted -- the

  15     reason I asked Mr. Julian and Mr. Orsini, you were the

  16     principal counsel that were sort of in point position on these

  17     discovery issues.        I realize that both of you are supported by

  18     lots of other lawyers or nonlawyers and, again, my purpose

  19     isn't to do anything other than to try to get the word out.

  20                So let me just run through a short list of things, and

  21     then I'll see what I want to hear from any of you and any of

  22     the other counsel on the phone.              There were a number of items

  23     on my list.      The first one, there was, just again, one of these

  24     miscommunications that I want to avoid going forward.                     The TCC

  25     filed a motion to compel regarding third-party documents on

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   1     July 25th, and somehow it managed to get on the August 9th

   2     calendar before there was even a request for shortened time, or

   3     maybe that it was at the same time, and I was not that

   4     interested in having things on that August 9th calendar

   5     because, first of all, I have other matters, non PG&E matters,

   6     and that -- and then, secondly, that was the specific date

   7     reserved for any report back from CPUC and the Governor's

   8     Office and the continued hearing on the two contested motions

   9     pertaining to compensation matter.              And so I just didn't want

  10     it to get on with the discovery -- any discovery issues,

  11     because of the congestions.

  12                 And so that's why, on the 29th of July, I issued the

  13     order that led to today's hearing, and said I would take up

  14     that motion to compel today, August 7th.                Well, the very next

  15     day, the TCC set that motion to compel regarding third-party

  16     documents out to the end of August on the 27th, and I'm

  17     wondering:     did they --

  18                 Wait, I have a correction here.

  19                 What?

  20             (Court and clerk confer.)

  21                 THE COURT:      Okay.      Okay, Mr. Karotkin, you're on the

  22     call now?

  23                 MS. KIM:     Actually, this is Jane Kim.            I'm trying to

  24     get him conferenced in.

  25                 THE COURT:      Okay, Okay.       Well, let me go forward.          I

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   1     want to move on.

   2                 So when the TCC then, a day after I said I wanted to

   3     hear the motion to compel today, and the TCC set it over for

   4     August 27th.        I'm not going to make a big deal of it.              I'm not

   5     going to take it up today, even though I said I was going to.

   6     But I want to make sure that everybody in this complicated case

   7     with so many lawyers in so many places dealing with it, just we

   8     be on the same page.

   9                 And so I'm going to ask again if I set something,

  10     please don't mess around with the schedule, unless you get --

  11     clarify from me.        So I don't need any discussion about it.                 I'm

  12     not going to take up the motion to compel because I'll write it

  13     off to a -- just a failure of communication and not any

  14     mischief.    So I had -- and then I wanted to --

  15                 MR. KLEBER:      Your --

  16                 THE COURT:      -- I wanted to just -- oh, yes, sir,

  17     someone wanted to speak?

  18                 MR. KLEBER:      Your Honor, this is Kody Kleber.             First

  19     of all, we represent the TCC.

  20                 I apologize for any confusion with regard to that

  21     setting of the motion to compel.             I just want to say that we

  22     interpreted your order as denying the motion to shorten time,

  23     and that's the reason why we set it for that later date.                        We

  24     are, of course, prepared to move forward and argue that today

  25     if we're permitted to do so.

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   1                THE COURT:      Well, I denied the shorten time, but set

   2     the time, and then the next day, it got set.

   3                And Mr. Kleber, I'm not looking for an apology, I'm

   4     not mad at anybody, and I'm not even prepared to discuss the

   5     motion to compel today because I understood what was happening.

   6                So but and further to the whole question of -- I just

   7     want to make sure we communicate both my chambers and my staff,

   8     and then all of the various counsel representing so many

   9     people, that we don't get at further cross-purposes.

  10                So after this discussion back-and-forth about the

  11     motion, then on July 26th, I received a letter from other

  12     counsel from the TCC asking for a discovery conference

  13     regarding a number of matters that are on the subject -- you

  14     know, on the agenda for today.            And again, my observation is

  15     simply that the ships are passing in the night slightly on

  16     matters that -- ships don't need to pass in the night, we need

  17     to make progress down on the -- on the voyage.

  18                So I guess I'm going to encourage each firm and each

  19     constituency to make sure there's some sort of internal

  20     consistent coordination as to dates for requested hearings or

  21     discovery conference or anything that I or my staff or our

  22     responsibility falls.

  23                So let's not -- let's not spend any more time on it.

  24     I'm not -- I'm not going to, and none of you need to.

  25                Taking the matters that are left for today in kind of

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   1    an order of simplicity to more complex, they only thing that

   2    was an action item that I got from the official creditors'

   3    committee, not the fire -- not the TCC, but the official

   4    unsecured creditors committee is Mr. Leblanc's letter of August

   5    1st.     And Mr. Leblanc is asking for information about the

   6    BrownGreer portal, and I'm -- I can ask Mr. Leblanc to tell me

   7    where things stand on that.

   8                But to the extent that it might be something that Mr.

   9    Orsini and the debtor is going to tell me about, generally, on

  10    what's ex -- what's expected from the debtor or from others is

  11    part of the suggestion that was in the statement from Weil,

  12    Gotshal that maybe there's been some resolution of all these

  13    matters.

  14                So why don't I ask Mr. Orsini if you can help me on

  15    that broader subject?         So I'm looking at the debtors' response

  16    that was filed to my order.            It was filed on the 5th.         It's

  17    docket 3371, and it's lengthy.            And the first topic is what the

  18    debtor is waiting for from the TCC and the subrogation group.

  19    Instead of talking about that, let's go to the second topic, or

  20    the conclusion of that portion of the filing, that says that

  21    the debtors and the wildfire claimants are working on an

  22    agreement that wil provide some sort of a consensual

  23    resolution.

  24                So Mr. Orsini, is there anything to report in a

  25    discovery context in that -- in that subject, or not?

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   1                MR. ORSINI:      Yes, Your Honor.        Can you -- can you hear

   2    me now?

   3                THE COURT:     Yes, sure.

   4                MR. ORSINI:      Great.     So we have been working -- the

   5    debtor has been working very hard, whereas some of the trial

   6    lawyers from the state court proceedings who have been managing

   7    the BrownGreer database.          As Your Honor, will recall, the

   8    BrownGreer database was originally created through negotiations

   9    between us and those lawyers, and then was ultimately the

  10    subject of an order from the state court.

  11                THE COURT:     Um-hum.

  12                MR. ORSINI:      We have not yet finalized an agreement,

  13    but I'm happy to report that I believe both sides are of the

  14    view that we are very close to reaching an agreement.                   It still

  15    may not come to fruition, but where we are right now is I

  16    believe there are only a few terms that are still subject to

  17    discussion, and the general idea would be to allow access to

  18    the BrownGreer database; to come to a common understanding as

  19    to additional information, including documents and other data

  20    that could be provided through the BrownGreer database

  21    concerning the underlying damages claims of the various

  22    wildfire victims; that we would be able to use this mechanism

  23    to enable further discussions between the debtor and the

  24    wildfire claimant between now and the bar date, to see if we

  25    can get to a consensual resolution.

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   1                As the Court knows, we haven't been able to do that

   2    yet, but data is very important to that effort and so we're

   3    working on this agreement to try to move those discussions

   4    forward and also permit the use of BrownGreer to bring a

   5    significant number of wildfire claims into the bankruptcy

   6    proceeding as quickly as possible to assist people in meeting

   7    their obligations under the bar date.

   8                So we're not quite over the goal line yet.                 We have

   9    extended the return date on the subpoena we served on

  10    BrownGreer until August 9th with the goal of trying to wrap up

  11    the agreement by then.          If we're unable to do so, then we'll

  12    need to come back to the Court and ask the Court to resolve the

  13    disputed issue of access to BrownGreer.                I remain hopeful that

  14    we won't wind up there, but that's the current status.

  15                THE COURT:      Okay.       Well, so I take it, then, Mr.

  16    Orsini, that to the extent that there are topics in your

  17    response, under Roman I, "Debtors' Request for TCC", that that

  18    covers much of that.         And that's on hold, then, consistent with

  19    what you said; is that a fair statement?

  20                MR. ORSINI:       I think there are some issues that are

  21    separate and apart from the BrownGreer database that are listed

  22    in Section I.        For example, informational support, the overall

  23    fifty-four billion dollar figure that --

  24                THE COURT:      Right.

  25                MR. ORSINI:       -- the TCC has --

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   1                THE COURT:     No, I understand.

   2                MR. ORSINI:      -- put forward.

   3                THE COURT:     I understand.

   4                MR. ORSINI:      So I do think there will be some -- yeah.

   5    I do think even if we can secure the BrownGreer agreement,

   6    there might be some other discovery items we're seeking.                      We

   7    have requested to meet and confer with the TCC about those.                        We

   8    haven't yet been able to do that.             But I don't think that

   9    there's anything ripe for discussion today, but it is all of a

  10    kind, which is trying to get to the bottom of what these claims

  11    are valued at, since that is the core (indiscernible).

  12                THE COURT:     Well, no, of course.          I understand.        And

  13    if you're satisfied, you, on behalf of the debtors, are

  14    satisfied at least where things stand and don't want me to act

  15    on paragraph I of your report, I won't.               And therefore, no one

  16    else who was, perhaps, on the other side of that dispute needs

  17    to even be heard.       I'm not going to interject myself in what's

  18    going forward, and so I'll leave it to you, Mr. Orsini.                   Should

  19    we put this entire topic number I on hold, or not at this

  20    point?

  21                MR. ORSINI:      I think that would be -- no, I think that

  22    would be prudent, Your Honor.            We will obviously not be shy

  23    about asking for your help if we need it, but let us continue

  24    the discussions and come back when they're ripe for

  25    adjudication.

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   1                THE COURT:     Okay.       And Mr. Leblanc, are you with us on

   2    the call?

   3                MR. LEBLANC:      Yes.

   4                THE COURT:     And --

   5                MR. LEBLANC:      Yes, Your Honor, I am.          I was just about

   6    to speak up.

   7                THE COURT:     Okay.       Well, it was your letter that had

   8    this one issue, so --

   9                MR. LEBLANC:      Yeah.

  10                THE COURT:     -- are you comfortable with where things

  11    stand?

  12                MR. LEBLANC:      I am, Your Honor.        We filed our letter

  13    at the time that you had asked for those types of letters from

  14    other parties, so we wanted to make it clear that we had this

  15    open issue.

  16                We've been working -- Mr. Orsini has kept us involved

  17    and kept us in the loop and, in fact, the draft of the

  18    agreement provides access not only to the debtors, but also to

  19    the UCC and its professionals.            And so we're satisfied with

  20    that, assuming that stays on course.              Our issue can equally be

  21    tabled to let those discussions run to fruition.

  22                THE COURT:     Okay.       That's fine.    Again, same thing.

  23    I'm not going to interject myself into this.                You gentlemen

  24    know what you're doing better than I do.

  25                So before I go to open items from the TCC, let me go

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   1    to the Willkie Farr letter.             And that's -- I'm sorry.         Let me

   2    get the right document here.             Too many documents come through

   3    the mail here.

   4                There was a short list of items that the subrogation

   5    committee has asked for, and I have managed to set aside what

   6    I'm looking for.        Here it is.       Well, I don't know where it is.

   7                So let me hear from the subrogation counsel.                 Are

   8    things stand -- where do things stand from what -- your request

   9    for information?

  10                MR. MCCALLEN:       Sure, Your Honor.         This is Benjamin

  11    McCallen at Willkie Farr & Gallagher on behalf of the

  12    subrogation committee.

  13                THE COURT:      Right.

  14                MR. MCCALLEN:       Your Honor, since the TCC and the ad

  15    hoc subrogation group sent their letters to the Court, we've

  16    started a meet-and-confer process with the debtors.                    From our

  17    perspective, Your Honor, we want to do this as efficiently and

  18    quickly as possible, and I think there's some ways that we can

  19    do that.

  20                You know, the key issue, from our perspective, is

  21    getting access to the physical evidence that is in the debtors'

  22    possession and CAL FIRE's possession to conduct physical

  23    examinations.        That was part of our meet-and-confer discussion

  24    with the debtors earlier this week.               My understanding, and Mr.

  25    Orsini will correct me if I'm wrong, but he's generally

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   1    speaking in agreement that that's something that can and should

   2    move forward, provided that we can get an agreement in place to

   3    have all parties involved in that and to do it in a sensible

   4    fashion going forward that everybody can participate in.

   5                And so I think, Your Honor, from my perspective, I

   6    think that the issues related to the physical evidence, I think

   7    we're going to be able to come to agreement on that.                   And I

   8    don't want to bring something to Your Honor prematurely if we

   9    can come to an agreement on our own.              So I think for the time

  10    being, in the hope that we can reach an agreement with the

  11    debtors, we can take those issues off the table.

  12                The one issue which I think could be dealt with today,

  13    Your Honor, because I don't want to bring issues prematurely to

  14    the Court, is that the TCC has obviously served a lot of

  15    discovery requests, and we'll get into those in a minute.                      And

  16    in particular, anything that the TCC is asking for that is

  17    relevant to wildfire claims is going to be equally relevant to

  18    our claims.     And in fact, for the final request category we

  19    have in there, which is documents supporting estimates or

  20    projections of wildfire claim amounts as set forth in public

  21    and court filings by the debtors, and the debtors have

  22    responded saying that they have produced all nonprivileged

  23    documents to responsive to these requests of the TCC, but those

  24    productions have not been made to us.

  25                And so I think, Your Honor, one issue that we could

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   1    address today -- and I don't know if any parties will have any

   2    objection to this because, frankly, we haven't had a chance to

   3    discuss it, but is an agreement that any materials that are

   4    produced to the TCC in response to their requests on the

   5    wildfire claims would come to us as well, which would allow us,

   6    I think, Your Honor, to streamline and focus our requests on

   7    supplemental or additional things the TCC hasn't already

   8    requested.

   9                THE COURT:     Okay.       Mr. McCallen, I'll ask Mr. Orsini

  10    or anyone else from the law firm to respond, but in one -- I

  11    located what I couldn't find a moment ago, and indeed, it was

  12    the filing that you made on the 1st, number 3352, and that was

  13    the one that had a list of about eight items.                 The first ones

  14    were the nondestructive examination of physical evidence, and

  15    I'm going to assume that the others on that list, policies and

  16    practices and procedures and the de-energizing and depositions

  17    and so on, that's under control for now.

  18                Mr. Orsini, or someone on your side, do you have a

  19    problem with Mr. McCallen's request that whatever you give to

  20    the TCC can go to the subrogation group, at least in the way

  21    it's referred --

  22                MR. ORSINI:      Your --

  23                THE COURT:     -- referred to in his statement?

  24                Yes, go head.

  25                MR. ORSINI:      Yes, Your Honor, this is Kevin Orsini.

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   1    I, candidly, thought that they already had a copy of those, so

   2    I certainly have no objection to getting them a copy of those.

   3    I do think that it obviously makes sense for the ad hoc

   4    subrogation group to get any of the discovery that we are

   5    providing with respect to wildfire liability issues, since they

   6    have wildfire liability claims.

   7                THE COURT:     Okay.

   8                MR. ORSINI:      So I don't think there's any issue there.

   9                THE COURT:     Okay.       Well, I'm glad you said that

  10    because it seemed to me that that's the sensible approach.

  11                But Mr. Orsini, as long as I've got you speaking

  12    again, I want to go back to something that I'm unclear about

  13    that you said.       And this is -- what I'm looking at now is the

  14    BakerHostetler -- that means signed by Mr. Julian -- letter of

  15    July 26th, and that was the letter that triggered my need, my

  16    sense that I better get moving on this discovery request.

  17                And Exhibit 2 to Mr. Julian's letter includes an email

  18    from you to Mr. Macon that I -- I guess I don't know who Mr.

  19    Macon is, but I can guess who he is.              And what your statement

  20    concerned me in your letter, your email, was that since your

  21    group, meaning the subrogation group, has moved to lift the

  22    stay related to Tubbs, we think the Court needs to resolve the

  23    question of how these wildfires -- issues will be addressed in

  24    these proceedings before we embark on a path of discussing

  25    specific discovery demands.

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   1                I realize that that's a big question, but we can't put

   2    discovery on hold while we're dealing with the estimation

   3    matter that is coming back up on calendar next week.                    So did

   4    you mean something else in that statement, if you recall?                      And

   5    maybe the specific sentence doesn't pop up into your memory,

   6    but can you help me on that?

   7                MR. ORSINI:      I can, Your Honor.         And I know exactly

   8    what you now are referring to.

   9                Just for a little bit of context, the letter to which

  10    I was responding was a fifteen to twenty-page letter from Mr.

  11    Macon, who is one of the subrogation trial lawyers for the

  12    state court proceedings, requesting that we open up

  13    discovery -- I think that his phrase says, that we lift the

  14    discovery stay and proceed with wildfire liability discovery.

  15                My response was sent prior to us getting our

  16    estimation motion on file.             And the point that I was trying to

  17    make in my response was simply that we weren't going to consent

  18    to lifting the stay, because I wasn't even quite sure what that

  19    meant in this context, but that we do believe that estimation

  20    is going to require some form of liability discovery.

  21                As I'm sure Your Honor recalls, part of our estimation

  22    motion actually asks for an order directing all of us to get

  23    together and essentially do what we're doing right now, which

  24    is talk about how we're going to get the discovery in place for

  25    estimation.

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   1                So just to state it very directly, so there's no

   2    ambiguity, it is not our position that liability discovery

   3    needs to be completely shut off for now until we resolve these

   4    issues.    To the contrary, we completely agree that as part of

   5    the estimation process we propose, there will need to be some

   6    reasonable discovery into liability issues.

   7                I stated in a number of letters subsequent to the

   8    email Your Honor is citing that we are very amenable to having

   9    those conversations.        As Mr. McCallen just reported, we've had

  10    meet-and-confers with the subrogation group on exactly some of

  11    those issues since, and we've made it clear to the TCC,

  12    generally speaking, we're ready.             We do think discovery needs

  13    to move forward on the liability issues, and we're prepared to

  14    sit down and negotiate a protocol for that that makes sense to

  15    everybody, including the Court.

  16                THE COURT:     Okay.       Again, Mr. Orsini, you're on a

  17    roll.     You've given me the right answer because it seemed to

  18    me, we -- discovery is a fact.            There are no facts that pertain

  19    only to a state court action rather than a bankruptcy action,

  20    so you're on the right path, and I won't discuss it further

  21    unless any other counsel want to raise it.

  22                And come next week, when I deal with -- unless there's

  23    some change, I'll be dealing with both the relief from stay

  24    question again and the estimation motion.               And by my

  25    calculation, a whole bunch of people are going to be filing a

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   1    whole bunch of things between now and then.

   2                So unless someone else on the phone has a different

   3    desire, I'm prepared to now go to the debtors' response to the

   4    TCC discovery and find out from Mr. Julian or any of his

   5    colleagues what needs action from me and what can we wait on.

   6                So for purposes of tracking where we are, I'm now back

   7    to the debtor; I guess -- again, I guess Mr. Orsini bears his

   8    name on there, but it doesn't matter.              It's the debtors'

   9    document 3371, beginning on page 4, "Responses to TCC

  10    Submission and Subrogation Submission".               And there are numbers

  11    of them, and I see that some have been answered; some have not

  12    been answered.       And I'm ready to have Mr. Julian, or whoever is

  13    going to speak for the TCC, go down the list and tell me where

  14    they're satisfied and where they're not satisfied.                  So let's

  15    proceed that way, unless someone wants to suggest a different

  16    approach.

  17                MR. PASCUZZI:      Your Honor, this is Paul Pascuzzi for

  18    CAL FIRE.     Can I interject here, before we get into the weeds

  19    too much?

  20                THE COURT:     Absolutely.       If you have something good to

  21    say.     Sure, Mr. --

  22                MR. PASCUZZI:      Well, I think I do.

  23                THE COURT:     Yeah.

  24                MR. PASCUZZI:      I think I do, Your Honor.            Paul

  25    Pascuzzi, Felderstein Fitzgerald Willoughby Pascuzzi & Rios,

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   1    for CAL FIRE.        We're co-counsel with the Attorney General's

   2    Office.    There are a couple of Attorney General lawyers on the

   3    phone, listening, as well.

   4                As everybody has seen, CAL FIRE, I believe, is going

   5    to be prominently involved in the discovery process here.

   6    There's already a subpoena from the Singleton Law Firm; there's

   7    two subpoenas by the tort committee to CAL FIRE indirectly on

   8    the Camp Fire.       And so I wanted to just interject and request

   9    that the parties kind of coordinate to eliminate duplication

  10    and overbroad requests and other issues that can arise from

  11    kind of a scattershot approach.

  12                For example, the ad hoc subrogation committee pleading

  13    mentions just looking at evidence in CAL FIRE's possession.                      We

  14    have not been contacted about that.               I assume parties will

  15    contact us and we'll be able to meet and confer.                     There are

  16    going to be some issues with respect to the Camp Fire with

  17    regard to investigative privilege because there are criminal

  18    investigation going on.

  19                So I just wanted to chime in here, just generally, let

  20    everybody know we're out here for CAL FIRE.                 We're looking to

  21    meet and confer and assist in good faith for an efficient

  22    process, and for the Court not to forget that CAL FIRE is out

  23    here.

  24                THE COURT:      Okay.       Thank you, Mr. Pascuzzi.         I'll

  25    leave it to you to notify all counsel what you want to

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   1    coordinate.     You'll be the center of gravity for that kind of

   2    coordination.        That sounds helpful.         That's not something that

   3    I was aware of, at least from the papers that I read today, but

   4    that's fine.

   5                All right.      Unless somebody else wants to be heard --

   6                MR. PASCUZZI:       Thank you.

   7                THE COURT:      -- let's go back to Mr. Julian, or

   8    whoever, if Mr. Julian wants to lead the discussion on what the

   9    TCC is expecting from the debtors.

  10                And I do note that, from what the debtors filed, there

  11    was a promise for a number of documents two days from now.                       So

  12    those of you who are waiting for something to happen by August

  13    9th, you don't have to tell me this morning that you expect it

  14    on August 9th; I'll assume you all expect it on August 9th, or

  15    the TCC.

  16                So Mr. Julian, are you going to speak, or Mr. Kleber,

  17    or someone else in your department?

  18                MR. JULIAN:       Your Honor, it's Robert Julian for the

  19    TCC.     And I wanted to divide my comments into two.

  20                First, the seventy open requests that are in our

  21    response to your order will be addressed by Kim Morris.                    And

  22    what she has done is grouped them into four buckets.                    And she

  23    will have four common sense solutions for how the debtors, she,

  24    and the Court can resolve those.

  25                But before she speaks on those seventy open items,

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   1    Your Honor, I would like to address Mr. Orsini's comments about

   2    my July 26th letter to you in which the TCC joined in the state

   3    court leadership counsels' and subrogation claimants' July 1

   4    letter requesting an opening of discovery for liability issues

   5    in both the bankruptcy and any relief from stay matter, with

   6    respect to the twenty fires listed in there.

   7                And Mr. Orsini correctly stated the debtors' view that

   8    they would like to get together after August 14th to discuss a

   9    discovery protocol for how to handle those types of discovery

  10    requests with respect to liability for the twenty fires in

  11    which the TCC has joined.

  12                My point is whether or not the parties narrow the

  13    discovery or not, one thing is clear.              We're looking at

  14    compressed discovery schedules.             And that is the reason why the

  15    TCC joined with the North Bay fire groups in requesting an

  16    immediate opening of discovery on that.               And obviously, the

  17    debtors can object to some of the request as narrow, but we

  18    think it's improper to simply say we're still not going to

  19    produce discovery.

  20                So we once again ask for discovery to be reopened,

  21    that those discovery requests be responded to that are in our

  22    letter.

  23                And I'd like to point out why we joined with the North

  24    Bay in subrogation group's request in their July 1 letter, and

  25    joining in my July 26th letter.             The reason is, as you'll see

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   1    in our estimation brief that we're filing today, that under the

   2    mass tort procedures that bankruptcy judges and district judges

   3    have used to coordinate the pending state court litigation that

   4    has been brought in one way or another into the federal courts,

   5    either the district court or the bankruptcy court, is because

   6    the state court litigants have been litigating this stuff for

   7    two years.     And the tort committee creditors' committee has to

   8    simply work in tandem with the state court trial for a couple

   9    of reasons.

  10                First, as you've seen in the docket, the Cravath firm

  11    has been paid ninety million dollars to work up this case for

  12    two years for both liability and estimation.                And we have not

  13    looked at any of that information, and we haven't spent any

  14    money at all on preparing because we don't have the

  15    information.     The state court lawyers, on the other hand, have

  16    about half of the information, but not the rest of the half

  17    that the debtors have.

  18                And it's important to realize that in proving, as we

  19    will have to do, in either an estimation proceeding or a

  20    district court trial, or in the Tubbs trial, that PG&E

  21    negligently managed the trees, or the system, or failed to de-

  22    energize, that the documents that prove that are uniquely in

  23    PG&E's possession alone.          They have them.       They haven't given

  24    them up.     They still haven't given them up.             They want to have

  25    a discovery plan over that.

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   1                Your Honor, we simply can't wait.             And we ask for

   2    today that you simply acknowledge that the parties can go

   3    forward with that July 1 request and that the debtors be

   4    ordered to respond to it in some way.              And I'd like to be heard

   5    on that.     I'm done with that, but after this, Kim Morris can

   6    tell you about the four buckets --

   7                THE COURT:     Well, let's --

   8                MR. JULIAN:      -- that she has, and her four solutions

   9    for resolving them.

  10                THE COURT:     Well, let's come back to Ms. Morris in a

  11    minute.

  12                MR. JULIAN:      Thank you.

  13                THE COURT:     Let me let Mr. Orsini respond to your

  14    statement that you just made.

  15                MR. ORSINI:      Yes.      Thank you, Your Honor.        So I don't

  16    quite understand Mr. Julian's statement that I've refused to

  17    provide discovery until after August 14th.                I think I said the

  18    opposite just a few minutes ago, and I've told him repeatedly

  19    in letters and discussions over the previous couple of weeks

  20    that we're ready.       We're standing here, ready to embark upon

  21    this liability discovery.

  22                All that we're suggesting is we ought to have an

  23    actual protocol in place that governs how that discovery is

  24    going to work:       when requests are going to be served, when

  25    responses will be filed, how we'll address disputes, when

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   1    depositions can start.         Basically, a discovery plan, like you

   2    have in every litigation with contested, factual issues.

   3                And so I don't -- there's been no effort on our part

   4    to delay here.       We've told them repeatedly we're ready to go

   5    when they want to sit down and have the protocol put in place.

   6    Mr. Julian had informed me in a letter last week that they were

   7    working on a protocol that covers those issues, and we were

   8    waiting to receive that protocol and provide responses to it.

   9                So again, I'll just say, we're prepared to move

  10    forward.     We just think, particularly given the amount of

  11    parties, the number of parties, the compressed time schedule

  12    that we have by virtue of the June 30th deadline set by the

  13    legislature, that it just makes sense to have a plan in place

  14    to get us from where we are today to where we need to be for an

  15    estimation hearing.

  16                THE COURT:     Okay.       But let's make sure we're on the

  17    same --

  18                MR. ORSINI:      Yep.

  19                THE COURT:     Mr. Orsini, from my point of view, I have

  20    to decide soon whether to grant relief from stay to two

  21    different motions -- on two different motions, but really, it's

  22    the same issue raised by two different moving parties.                   And if

  23    I were to do so, then presumably the discovery would be

  24    governed by the state court processes.               If I deny the relief

  25    from stay and say we're going with estimation -- and I'm not

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   1    suggesting that it's either/or, but from my point of view, that

   2    is an option -- and so if we were -- for the moment, let's just

   3    take relief from stay off the table.              The debtor has admitted

   4    that its equipment caused all the fires except Tubbs -- and I'm

   5    not going to worry about Ghost Ship; that's a different set of

   6    issues -- so the wildfires, but that's all you've admitted.

   7                And if I read correctly your arguments, and to some

   8    extent, what Mr. Karotkin argued, if I accept the debtors'

   9    contention about inverse condemnation, then to say your

  10    equipment caused the fire doesn't say much of anything, in

  11    terms of liability.        And if, in fact, there's no proof of

  12    negligence -- there still has to be proof of negligence,

  13    correct, and no negligence if inverse condemnation applies.                   Do

  14    I got the basics right?

  15                MR. ORSINI:      A couple clarifying points, Your Honor.

  16    I think generally speaking, yes.

  17                Just to be clear on a couple of things, so the debtor

  18    has acknowledged causation --

  19                THE COURT:     Yes.

  20                MR. ORSINI:      -- for all purposes with respect to the

  21    Camp Fire.

  22                THE COURT:     But causation means --

  23                MR. ORSINI:      With respect to the other fires --

  24                THE COURT:     Causation means my equipment caused the

  25    fire, right?

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   1                MR. ORSINI:      Correct.

   2                THE COURT:     But it doesn't mean I --

   3                MR. ORSINI:      Correct.      And with respect --

   4                THE COURT:     It doesn't mean you were negligent?

   5                MR. ORSINI:      That's correct, Your Honor.

   6                THE COURT:     Okay.

   7                MR. ORSINI:      The one other point I want to clarify on

   8    that point is, with respect to the fires that are not Camp or

   9    Tubbs, what we have said is we will not contest causation in an

  10    estimation hearing.

  11                But Your Honor's absolutely right.             If we move forward

  12    with the estimation process, there are questions of legal

  13    liability because factual causation does not equal legal

  14    liability.

  15                THE COURT:     I understand.

  16                MR. ORSINI:      And Your Honor's absolutely right.

  17                THE COURT:     Yeah.       But the difference is --

  18                MR. ORSINI:      But Your Honor's absolutely right.

  19    The --

  20                THE COURT:     The difference between will not contest

  21    and admit is like a guilty plea and a nolo plea, right?                   "Will

  22    not contest" means the plaintiffs don't have to prove that PG&E

  23    equipment cause the Atlas Fire, or the -- I can't keep track of

  24    all the names, but we're putting Tubbs on a separate -- Tubbs

  25    and Ghost Ship are different.            Your statement that will not

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   1    contest for purposes of an estimation trial means they don't

   2    have to prove that PG&E's equipment was the physical cause of

   3    the fire, right?

   4                MR. ORSINI:      In an estimation trial, that's correct.

   5    I'm simply just clarifying that if we somehow found ourselves

   6    in a different situation, let's say a state court trial because

   7    the motion to lift the stay on Atlas expires by tomorrow, that

   8    our agreement not to contest causation is limited to an

   9    estimation proceeding, not to any potential state court action.

  10                THE COURT:     Okay.       Okay, that's fine.      But if I were

  11    to grant relief from stay to any plaintiff for any fire, it's

  12    up to the court in that matter to deal with what do all these

  13    things mean.

  14                If I am presiding --

  15                MR. ORSINI:      Precisely.

  16                THE COURT:     If I am presiding over an estimation

  17    trial, or if a district judge is supposed to do it, if a

  18    federal judicial officer in the bankruptcy is doing it, you

  19    have made it clear that for these purposes, that's not

  20    contested.

  21                But beyond that, I mean, there is a pretty broad range

  22    of discovery that's relevant, even for the estimation.                   Sounds

  23    to me you don't disagree with that?

  24                MR. ORSINI:      Not even a little bit, Your Honor.               We

  25    completely agree with that proposition.

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   1                THE COURT:     Okay.       Mr. Julian, I think that Mr. Orsini

   2    clarified it to my satisfaction.             Are you -- still want to take

   3    him on for the way he responded to first your question, then my

   4    question?

   5                MR. JULIAN:      I understand what he's saying, and I have

   6    two requests that I think can help you see where we're coming

   7    from.

   8                The first is, by way of background, the North Bay Fire

   9    litigation, which figures prominently in any estimation

  10    proceeding, had a bunch of documents produced that are in a

  11    database that we now have access to for the first time, as of

  12    last week.     But on the eve of the bankruptcy, the debtors were

  13    ready to produce thousands of documents dealing with liability.

  14    They told the North Bay group that they were ready to be

  15    produced on February 15th.

  16                Now, those had been bought and paid for via state

  17    money.    They're in a database that the debtors have, that

  18    Cravath has.     With the touch of a button, more or less, that

  19    could be produced to us because it was ready to be produced.

  20    It's already been produced.

  21                I request that the Court order the debtors to produce

  22    the discovery that was ready to be produced on February 15th,

  23    or whatever the date was -- it's already ready to go -- to the

  24    TCC, and secondly, that the 800 or so investigation reports and

  25    related documents that the debtors turned over to Judge Alsup

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   1    that we have not been a copy to be given to us, because they

   2    directly relate to their responsibility and their cover-up and

   3    destruction of evidence that is so key in any estimation

   4    proceeding.

   5                And once again, with the touch of a button, those two

   6    items could be sent to us.             And I'd like a ruling on that

   7    today, if I may, Your Honor.

   8                THE COURT:     Well, let's take the latter of those two.

   9    The first one, I understand the issue.                The second one, when

  10    what was provided to Judge Alsup, does it relate to the 2010

  11    San Bruno matter, or does it relate to the wildfires?

  12                MR. JULIAN:      As we understand, it relates to primarily

  13    Camp, but also any wildfire.             And remember, the reason for

  14    that, Your Honor, is that the probation hearings have turned,

  15    now, from responsibility for the 2010 San Bruno gas explosion

  16    to a determination by Judge Alsup that a term of the probation

  17    dealing with not violating any other laws or complying with

  18    discovery disclosures means Judge Alsup is not going to let any

  19    more fires happen, and he's going to investigate what PG&E did

  20    with respect to the 2017 and 2018 fires.                Those are the focus

  21    points of Judge Alsup's orders in 2019:                responsibility for

  22    2017 and 2018 fires and the payment of dividends rather than

  23    putting it into wildfire mitigation.

  24                So yes, Your Honor.          Our understanding is PG&E, in

  25    response to the 2017 and 2018 questions raised by Judge Alsup

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   1    as to those fires, submitted inspection reports and related

   2    documentation with respect to their culpability to Judge Alsup.

   3                And it's important to remember that this is so

   4    important to Judge Alsup and the TCC that Judge Alsup read in

   5    the Wall Street Journal --

   6                THE COURT:     Oh, I know that.        I know.

   7                MR. JULIAN:      -- an article that said --

   8                THE COURT:     I'm aware of that.         I've read his order --

   9                MR. JULIAN:      Yeah.

  10                THE COURT:     -- and I've read the response.

  11                MR. JULIAN:      And so yes, Your Honor.          His order shows

  12    that he's focused on the 2017 and 2018 fires, and we want those

  13    inspection reports and related documents.

  14                THE COURT:     Okay.       Mr. Orsini, you've taken Mr. Julian

  15    into two parts.       The North Bay data that was going to be

  16    produced by February 15th, any reason why that shouldn't be

  17    available now?       It seems like it's very relevant --

  18                MR. ORSINI:      Okay, Your Honor, I've got --

  19                THE COURT:     -- to the estimations.          Pardon?

  20                MR. ORSINI:      So Your Honor, I need to correct some

  21    facts, because Mr. Julian's facts are incorrect.                    There was not

  22    a set of documents that were ready to go as of February 15th.

  23    There's no database for which at the touch of a button we could

  24    produce tens of thousands of pages of responsive materials.

  25                What Mr. Julian is referring to, I believe, is there

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   1    was an extensive protocol in the North Bay fire cases

   2    concerning the collection of emails and other electronic

   3    documents from hundreds of custodians:               over a hundred company

   4    employees, over a course of many years, going back in time.

   5    And those were then being reviewed and produced, subject to

   6    technology that was being negotiated between the parties to

   7    identify that which was responsive.

   8                There were many technological problems with getting

   9    that all done.       The reality is, there's still months' worth of

  10    work to do with respect to going and getting those documents

  11    ready for production, with respect to pulling out the

  12    privileged information, with respect to preparing privilege

  13    logs.    It's a massive amount of work, data, and documentation,

  14    the overwhelming majority of which is, frankly, overbroad,

  15    certainly for the purposes that we're addressing here.

  16                So there's not a treasure trove of information that

  17    I've just got sitting in some database back at PG&E or Cravath

  18    where we could hit the button and produce it.

  19                And this brings me back to, if -- we agree 100 percent

  20    that we need to engage in some liability discovery.                   But we

  21    also need to be cognizant of the schedule we have, as well as

  22    the debtor resources, and formulate a plan that actually makes

  23    sense, given the current context.             And the current context is

  24    not state court proceedings that could last for any number of

  25    years with no deadline in sight.

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   1                So again, I have no objection to producing relevant,

   2    responsive information.         My point is simply that we need to

   3    work together to put together a process that makes sense and is

   4    actually accomplishable -- if that's a word; I don't believe

   5    that it is -- that's actually feasible in the context of the

   6    proceedings that we have before us right now.

   7                THE COURT:     Well, what would have --

   8                MR. ORSINI:      That's point number 1.

   9                THE COURT:     What would have been produced on February

  10    15th, if there hadn't been a bankruptcy?

  11                MR. ORSINI:      My understanding is very little because

  12    there was still going to be a lot of work done over the ensuing

  13    couple of months.       I've looked into this issue with my team,

  14    and there were significant amounts of work left to be done with

  15    respect to the production of these custodial documents.

  16                THE COURT:     And what's your quick response to --

  17                MR. CAMPORA:      Your Honor --

  18                THE COURT:     Wait.       Let Mr. Orsini finish here.

  19                Your quick response, Mr. Orsini, to the 800 or so

  20    reports that were delivered to Judge Alsup; why shouldn't the

  21    TCC have access to that?

  22                MR. ORSINI:      I just need to go back and double check

  23    the facts there, Your Honor.            My understanding -- and I'm

  24    involved in the Alsup proceedings, as I think Your Honor

  25    knows -- my understanding is everything that we submitted to

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   1    Judge Alsup was produced -- was submitted publicly.                   It was

   2    filed on PACER, publicly available, not subject to sealing

   3    orders or anything like that.            So I believe everything we gave

   4    to Judge Alsup they have access to.

   5                I think what Mr. Julian is actually referring to is

   6    that there may be some documents that were referenced in some

   7    of the materials provided to Judge Alsup that we didn't

   8    actually give Judge Alsup copies of because it was just too

   9    much information.       And if what Mr. Julian is saying is they

  10    would separately like discovery of those documents, I'm happy

  11    to review a discovery request, and I expect we would produce

  12    those.

  13                THE COURT:     Okay.       Someone else started to speak, and

  14    I asked that person to wait.            Who was that?

  15                MR. CAMPORA:      Your Honor, my name is Steve Campora,

  16    and I represent many individuals in the state court proceedings

  17    and also in the bankruptcy.            And I wanted to comment about what

  18    Mr. Orsini just said about the document production that was due

  19    in February and also the documents that were filed under seal

  20    with Judge Alsup in December of 2018.

  21                THE COURT:     Okay.

  22                MR. JULIAN:      Yes, Your Honor, may I just supplement

  23    that?    Mr. Campora represents the chair of the tort committee.

  24    And he does have relevant information, and thank you for

  25    hearing from him.

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   1                THE COURT:     Well, I'm happy to hear from him.

   2                Go ahead, Mr. Campora.

   3                MR. CAMPORA:      Your Honor, in the state court

   4    proceedings, we have been working with PG&E for this entire

   5    process to get documents produces for approximately a year.

   6    And the documents were to be done in February, and I'm happy to

   7    get copies of transcripts from our hearings before the judge

   8    and our correspondence on the items, but PG&E was supposed to

   9    be producing the documents from the prior proceeding by

  10    February.

  11                We have been waiting.         They have excuse after excuse

  12    of why they haven't been done in nearly a year, but my

  13    recollection is, and I'm happy to get the transcript, is that

  14    there was an order that they be done in February.

  15                So for Mr. Orsini now to say it was months and months

  16    away is not accurate, and I'm happy to get those documents for

  17    you.

  18                THE COURT:     I don't want them.

  19                MR. CAMPORA:      So with --

  20                THE COURT:     I don't --

  21                MR. CAMPORA:      -- regard to the documents --

  22                THE COURT:     Mr. Campora, I don't want them.             I can't

  23    process the volume of stuff.            You need to make -- I take you at

  24    your word, and Mr. Orsini has to figure out how he's going to

  25    accommodate you or tee up a ruling that I would say that he

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   1    doesn't have to.       But for you to give me transcripts isn't

   2    efficient because I can't process all that.

   3                MR. CAMPORA:      Well --

   4                THE COURT:     So --

   5                MR. CAMPORA:      -- I'll tee it up however you'd like,

   6    Your Honor.     But --

   7                THE COURT:     No, I'll take your word for it that you

   8    believe that there is some information that would have been

   9    available, and I'm going to tell Mr. Orsini to respond to that

  10    in some way.     Again, I'm not taking sides here.              I'm just

  11    trying to make the system go.

  12                We all know that the best way to avoid a complaint

  13    that the debtor isn't providing information is for the debtor

  14    to provide information.         And so Mr. Orsini knows that, and the

  15    bankruptcy lawyers with him know that.               And that's what we're

  16    stuck with.

  17                So Mr. Julian, I'm not going to make a ruling today,

  18    but I'm certainly going to -- I'm going to put this request of

  19    yours on the front burner and tell Mr. Orsini he's got to

  20    respond specifically and deal with this protocol issue sooner

  21    rather than later.        And that's all I can hope for at this

  22    point.

  23                MR. JULIAN:      Your Honor, thank you for that.            And may

  24    I ask Mr. Campora to explain to the 800 documents that PG&E

  25    filed under seal with Judge Alsup and are ready for production

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   1    to us?

   2                THE COURT:     Well, I thought --

   3                MR. CAMPORA:      Your Honor --

   4                THE COURT:     I thought Mr. Orsini said he didn't think

   5    it was under seal.

   6                But yes, Mr. Campora, go ahead and say that.

   7                MR. CAMPORA:      Well, Your Honor, what we've been told

   8    is that there were 800 documents.              There were inspection

   9    reports and other documents related to the Camp Fire which

  10    were, in fact, filed under seal or not made public at the time

  11    it was done in December of 2018.              And so those documents are

  12    the ones we're requesting to be turned over.

  13                THE COURT:     Well, Mr. Orsini --

  14                MR. ORSINI:      Your Honor, this is --

  15                THE COURT:     -- you've got a response?

  16                Yes, sir.     Go ahead.

  17                MR. ORSINI:      Yeah.      No, I can just cut through this

  18    one, Your Honor, because I want to get back on a roll.

  19                As I said, I don't believe we filed anything under

  20    seal, but I make mistakes.             I could be wrong about that.            We'll

  21    go back and take a look, and if there was something that was

  22    filed under seal with Judge Alsup, those absolutely are readily

  23    available.     And so if that set of documents exists, we'll

  24    produce them, subject to the confidentiality order here.

  25                If I'm correct, that there was not something filed

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   1    under seal, then I believe what Mr. Campora and Mr. Julian are

   2    getting at are documents that were referenced in our

   3    submissions but not actually provided to Judge Alsup.                   And as I

   4    said, I'm also happy to speak to Mr. Julian, Mr. Campora, or

   5    anyone else about making those documents available to them as a

   6    separate production.        And then the only thing --

   7                MR. JULIAN:      Let me rephrase.        Let me rephrase; it's

   8    Julian here.     Any documents given to Judge Alsup in camera,

   9    under seal, or otherwise that are not on the public record is

  10    what we're referring to and what the Wall Street Journal's

  11    referring to and what Judge Alsup's referring to.

  12                THE COURT:     Well, let me say this.          I don't know what

  13    the procedure is in the criminal court -- in criminal matter

  14    pending before Judge Alsup.            In our court, in the civil matter,

  15    in the bankruptcy court, if something's under seal, the docket

  16    will reflect that there is something under seal.

  17                So although the docket, I'm sure, in the docket that

  18    Judge Alsup has before him is lengthy, there should be a docket

  19    entry that says there's something under seal.

  20                Now, if, in fact, Judge Alsup did it in some other

  21    way, I can't know that.         But Mr. Orsini said what he's willing

  22    to do, and certainly, if there was something that was under

  23    seal by a judge's order, then, as long as the debtors

  24    voluntarily turn it over, it should be turned over under the

  25    same kind of protections we have existing in this case for

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   1    various limited access.

   2                And we don't want to read a sealed document in Alsup's

   3    court in the Daily Journal tomorrow and San Francisco

   4    newspaper.     So it has to be treated in the same fashion.                    But

   5    principle counsel for the TCC and the subrogation group would

   6    seem to me to be entitled to have that.               And I'm not drawing a

   7    line between something other than lead counsel.                 I'm saying

   8    consistent with the discovery and the protective orders that

   9    are in place in our case, that's what I would assume.

  10                Whether or not PG&E needs to get bogged down now in an

  11    estimation trial about how much was paid out to dividends, pre-

  12    petition -- I'm not terribly sympathetic to that needing to be

  13    discovered because I don't think it's probative.                    But to the --

  14    because they did what they did.             And they told Judge Alsup, and

  15    the public, and the SEC filings what they did, and if the TCC

  16    wants to argue that that is somehow legally relevant to the

  17    estimation process, that's another argument that can be made.

  18                But I don't want to have a discovery conference to get

  19    into a debate about whether details of pre-petition dividend

  20    distributions are standing in the way of what we're supposed to

  21    be doing in either the estimation -- well, I say the estimation

  22    trial because, I'll repeat again, if I'm persuaded to grant

  23    relief from stay, it seems to me there's less discovery issues

  24    that are left to worry about here.             But that's for another day.

  25                So Mr. Orsini, I'm going to not ask you to put your

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   1    responses to these issues on my record in this court.                     You are

   2    committing to me that you are going to look into one or more of

   3    these issues to Mr. Julian and Mr. Campora.                  If I'm pronouncing

   4    your name incorrectly, I'm sorry.               But the principal lawyers

   5    that are looking for this information.                 And if you can satisfy

   6    them, then you will have satisfied me.

   7                 And so I won't dwell on it.            But Mr. Julian, I won't

   8    make a ruling, either.          I consider this as some progress.

   9                 So let's go to the four buckets that Ms. Morris -- can

  10    you take over, Ms. Morris?              Are you there?

  11                 MS. MORRIS:      Yes, I'm here.        Thank you, Your Honor.

  12    Kimberly Morris of BakerHostetler for the TCC.

  13                 The documents in our submission to the Court that were

  14    numbered 1 through, I believe, 70, can be grouped into four

  15    separate buckets.        One is the third-party contractor documents

  16    that were the subject of our motion to compel.                   And I

  17    understand Your Honor doesn't want to hear that today.                     We did,

  18    for clarity sake's, file a notice of hearing for today, and we

  19    are ready to proceed with that if Your Honor would like to hear

  20    it.      The debtors' response --

  21                 THE COURT:     Yeah, but you -- please, Ms. Morris.

  22    Please understand; I take some pride in preparing.                    But when

  23    you filed something that moves it over to later in the month, I

  24    don't prepare for it.          So I will let you respond if the

  25    principal lawyers on the other side want to hear from you.                       I

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   1    wouldn't even know what you're talking about.

   2                So have you communicated before this hearing with Mr.

   3    Orsini or others with him on your position on the third-party

   4    contractors?

   5                MS. MORRIS:      We have.      We had communications with them

   6    and then it resulted in our motion to compel that was filed by

   7    my partner, Kody Kleber.          And the debtors have responded that

   8    they have produced all of the relevant documents in their

   9    response to your order for this hearing.                And so I believe the

  10    record is ripe for a discussion of this today if Your Honor is

  11    willing to take it up.

  12                THE COURT:     Okay.       Go ahead.    All right, so --

  13                MS. MORRIS:      Well, I'd first like to get through the

  14    list of the other topics, just so that you have clarity going

  15    into this, what those four topics are.

  16                THE COURT:     Okay.

  17                MS. MORRIS:      One is those third-party documents and

  18    contracts.

  19                The second are insurance policies, and that made up a

  20    large section of our list.             And those are obviously relevant

  21    because they're assets of the debtor, and it is important for

  22    the TCC to understand the coverages that are available for

  23    their claims -- for the tort victims' claims, as well as

  24    whether or not notices of claims and tenders of claims have

  25    been properly made to make sure those buckets of money are

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   1    available for claims such as this.

   2                The third documents are what I'm going to call board-

   3    related documents.        And these are documents that have been

   4    outstanding for almost five months now.               And the debtors have

   5    responded that they've produced all -- or have not located or

   6    produced all nonprivileged documents.

   7                Your Honor, we have not received a privilege log, so

   8    we're not able to evaluate that response sufficiently without a

   9    log.     So with that request, that one's simple.              We just ask

  10    Your Honor to order the debtors today to produce a privilege

  11    log for documents that are outstanding for almost five months

  12    now.

  13                And the last, most important, I believe, for this

  14    call, for purposes of this call, are the claims estimations

  15    documents.     And those documents, Your Honor, fit into two main

  16    buckets.     They're the settlements relating to prior fire

  17    claims, so claims relating to the 2015 Butte fire and the 2010

  18    San Bruno fire, and all the information the debtors are using

  19    to estimate claims.

  20                They've made many statements, both in financial

  21    filings as well as in this court and publicly, about the value

  22    of the liability for these tort claims.               And the TCC has sought

  23    information upon which they're basing that because, as we know

  24    for financial filings, there has to be some reasonable basis

  25    for it.

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   1                The debtors have been estimating their liabilities in

   2    connection with these public filings and public statements

   3    mainly in reliance upon the underlying settlement agreement.

   4    Yet in my meet-and-confer sessions with Mr. Orsini, he's saying

   5    that they're not able to turn over those settlement agreements

   6    and related documents and that they're producing their internal

   7    records relating to those settlements in redacted form because

   8    they contain privileged and work-product information.

   9                Your Honor, bankruptcy courts consistently rely

  10    upon -- in estimating mass tort liabilities -- consistently

  11    rely upon prior settlement information, and it's why we cited

  12    to the Eagle-Picher case underneath our request for the

  13    settlement data.       That case drives home the point that

  14    settlement data is the most reliable information that you can

  15    use to estimate claims because it's the direct information on

  16    how the debtors have handled claims that -- similar claims in

  17    the past that are being asserted against them now.                  And to

  18    ignore that information would be to ignore valuable

  19    experiential resource that the parties in the case could use to

  20    estimate those claims.

  21                The debtors' internal records that have been produced

  22    show that they are relying upon those settlement agreements in

  23    their internal estimations of the claims here.                 They have

  24    produced many of those documents in heavily redacted form.                    And

  25    what they have produced is incomplete; we only have maybe less

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   1    than ten percent of the settlement data related to the Butte

   2    fire.    And the debtors have refused to produce any information

   3    in connection with the San Bruno fire, claiming that it's a

   4    wholly different event.         However, it is a fire event caused by

   5    PG&E that resulted in the exact same damages that are at issue

   6    here, the exact same types of claims.              And so we claim that it

   7    is actually very relevant to look at that information as well.

   8                And they're withholding this information from us

   9    either in redacted form or in withholding the settlement

  10    agreements and related documents themselves, claiming that

  11    they're subject to a mediation privilege and that they're

  12    subject to other privileges.

  13                And with respect to the mediation privilege, Your

  14    Honor, they're relying upon California Evidence Code Section

  15    1119 that states that the documents are protected from

  16    disclosure.     However, there are exceptions to that under

  17    California law, namely, Evidence Code Section 1123, that say

  18    that if the settlement agreements themselves contain language

  19    that they are enforceable or otherwise admissible, that they

  20    can be -- that they're not subject to the protections of the

  21    mediation privilege.

  22                But more importantly, Your Honor, this is information

  23    that can be turned over confidentially to the tort claimants.

  24    In this case, we heavily negotiated a protective order.                   That

  25    protective order contains language saying that if a party has a

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   1    pre-existing obligation to third parties to treat information

   2    as confidential, that they can mark it as such, and it would be

   3    covered by the protective order.

   4                And telling us -- the debtors have told us that we

   5    need the 1,500 or so underlying claimants that they settled

   6    those cases with to give their permission to turn over those

   7    documents.     But we don't need that, Your Honor.              We have the

   8    protections of the protective order here and, most importantly,

   9    the debtors themselves are relying upon this information.

  10    Bankruptcy courts expect that the parties will all rely upon

  11    this information, and the debtors are not providing it to us.

  12                So in connection with our request for this

  13    information, Your Honor, we simply ask that the debtors be

  14    ordered to produce all settlement agreements and demands in

  15    connection with the 2015 Butte fire settlements and the 2010

  16    San Bruno fire settlements, that they be ordered to produce all

  17    of the internal reports that they're using to estimate claims

  18    which include their internal reports on these settlements in an

  19    unredacted form so we're all on a level playing field here as

  20    we seek to do the most important job which is estimate the

  21    massive amount of liability in connection with these cases.

  22    They've been doing it for months, and we'd like to get up to

  23    speed and be on the same level, fair playing field with them.

  24                And then, lastly and specifically, that they be

  25    ordered to produce all the information that they're producing

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   1    to the SEC, in connection with the SEC's almost identical

   2    request to them -- that they produce information relating to

   3    their public disclosures and accounting for losses associated

   4    with the 2017 and '18 Northern California wildfires.

   5                So the SEC is seeking the same exact information that

   6    we are, yet the debtors are saying that they're not going to

   7    produce that in its entirety to us.              So our requests are simply

   8    for those three items to be ordered to be produced today, Your

   9    Honor.

  10                THE COURT:     Well, Ms. Morris, you did a nice summary

  11    of the four buckets for you, then proceeded to argue all the

  12    merits of bucket number four.

  13                So Mr. --

  14                MS. MORRIS:      I did, and --

  15                THE COURT:     That's all right.

  16                MS. MORRIS:      I --

  17                THE COURT:     That's all right.

  18                MS. MORRIS:      I'm happy to cover the other buckets now

  19    or just handle this one.

  20                THE COURT:     Well, I'm going to ask Mr. Orsini to make

  21    my job simple about the privilege log for bucket number three.

  22                Mr. Orsini, is there some reason why you can't commit

  23    to a privilege log for what we're going to call bucket number

  24    three?

  25                MR. ORSINI:      No reason at all, Your Honor.

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   1                THE COURT:     All right.

   2                MR. ORSINI:      We're happy to do that.

   3                THE COURT:     Okay.       When is that likely to be produced?

   4                MR. ORSINI:      I will commit to Your Honor that we'll

   5    produce it as soon as we reasonably can.               I'm a little reticent

   6    to just give you a date right now, because I don't know the

   7    scope of what's been done on that front and how many documents

   8    we're talking about.

   9                If it's acceptable to Your Honor, I will be in court

  10    next week on the other motions, and I'd be happy to report to

  11    the Court a deadline that is based upon actually looking into

  12    the work that's required.           But I can commit that we'll do what

  13    we can in good faith to get it done as soon as possible.

  14                THE COURT:     Well, okay.       I'll tell you what.

  15                MS. MORRIS:      Your Honor, if I may respond to that?

  16                THE COURT:     Well, Ms. --

  17                MS. MORRIS:      If I may respond, those requests have

  18    been outstanding for five months.

  19                THE COURT:     Ms. Morris --

  20                MS. MORRIS:      And so --

  21                THE COURT:     Ms. Morris --

  22                MS. MORRIS:      -- I think it --

  23                THE COURT:     Ms. Morris --

  24                MS. MORRIS:      Yes.

  25                THE COURT:     I can only handle so many issues.             And a

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   1    privilege log is important, but it's not as important as bucket

   2    four.    So I'm going to let Mr. Orsini give either you a

   3    response on the merits or me a response as to when there'll be

   4    a response, next week at the hearing.               So we have hearings on

   5    the 13th --

   6                MS. MORRIS:       Understood.

   7                THE COURT:      -- and the 14th.        So five months is a long

   8    time, but one more week isn't going to kill the deal.

   9                So Mr. Orsini, I'll take your word for what you'll

  10    give us.     If Ms. Morris gets the response and she's satisfied

  11    with the timing, then you needn't come back to me on it.

  12                So Mr. Orsini, do you want to defer the third-party

  13    contractor issue, bucket one?             Because I was prepared to do it

  14    because the debtor -- I mean, excuse me, the TCC had kicked

  15    that one out.        What would you like to do about the third-party

  16    contractor information?

  17                MR. ORSINI:       I can address it now, Your Honor,

  18    although I do think it would be beneficial to the Court for us

  19    to have the opportunity to put in a short written response,

  20    before we take it up.          Ultimately, I think it's premised upon a

  21    misreading on their part of the request they actually

  22    submitted.     We were preparing a response, but then had

  23    understood, based upon the various notices they filed, which

  24    confused us, that it wouldn't be taken up today.                     So I do think

  25    it would be better for the Court to have the benefit of a very

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   1    short written response --

   2                THE COURT:     Okay.

   3                MR. ORSINI:      -- for us, and then we could take it

   4    up --

   5                THE COURT:     Okay.

   6                MR. ORSINI:      -- at a later date.

   7                THE COURT:     No, give your opponent a response.             And if

   8    they're satisfied, I don't need a response.                If they're not

   9    satisfied, then we'll deal with it on the calendar where it is.

  10                I mean, to me, it's one thing -- as I said at the

  11    start, I'm not faulting anybody.             It would have been better

  12    that we not have different people setting deadlines.                   But since

  13    the TCC's counsel was willing to put things out to the 27th,

  14    I'm putting them out to the 27th, but maybe we don't get there.

  15                Okay.    So that leaves two buckets.           Insurance

  16    policies, when she --

  17                MR. KLEBER:      Your Honor?

  18                THE COURT:     Yes, sir?      Yes?    Who's that?

  19                MR. KLEBER:      This is Kody Kleber again.

  20                THE COURT:     Oh.

  21                MR. KLEBER:      If I may again apologize for any

  22    confusion regarding the notice.             But the motion to compel,

  23    regarding third party documents, is on calendar today.                   We did

  24    file an amended notice for the hearing today, and it is on the

  25    docket.    We are prepared to speak to that at more length --

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   1                THE COURT:      I'm --

   2                MR. KLEBER:       -- but if you're inclined to give

   3    opposing counsel --

   4                THE COURT:      I'm not prepared.         I didn't --

   5                MR. KLEBER:       -- the opportunity to respond, we can --

   6                THE COURT:      I'm not prepared.         Did you withdraw

   7    your --

   8                MR. KLEBER:       Understood.

   9                THE COURT:      -- setting of it on the 27th?

  10                Pardon?     You did or didn't?

  11                MR. KLEBER:       Yes, Your Honor.        We filed an amended

  12    notice setting it for today, in accordance with the Court's

  13    order --

  14                THE COURT:      When did you file that?

  15                MR. KLEBER:       -- denying the motion to --

  16                THE COURT:      When did you file that?

  17                MR. KLEBER:       On August 2nd, Your Honor.

  18                THE COURT:      Okay.       I just can't --

  19                MR. KLEBER:       On August 2nd, Your Honor.

  20                THE COURT:      My staff and I can't keep up with the

  21    pace.     This is going over to the 27th, but Mr. Orsini will be

  22    responding informally, Mr. Kleber, to you and Ms. Morris.                      And

  23    if that satisfies you, that's the end of it.                 If not, the

  24    motion will stay on calendar on the 27th, and that's where

  25    we'll be.

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   1                Okay.    On the insurance policies, when I read the

   2    written responses on the debtors' filing, I thought that they

   3    were responding to most of the requests about the insurance

   4    policy.    Ms. Morris doesn't feel that way.

   5                So Mr. Orsini, what's your response to that?

   6                MR. ORSINI:      Well, I guess we're not quite sure what

   7    it is that they're looking for, Your Honor.                A large number of

   8    the issues related to the insurance policies were raised with

   9    us for the first time in their submission to the Court.

  10    (Indiscernible) through the end.

  11                As we have set forth in our response, if there are

  12    specific issues they'd like to address with us, we're happy to

  13    look into those.       More broadly, on the insurance issues, we

  14    either have provided or will provide everything that we've

  15    identified that we believe is responsive to their request.                    And

  16    some of those are the documents that, as Your Honor noted, we

  17    said we'd produce by August 9th.

  18                There are certain categories of policies that they're

  19    pushing for, in response to requests for insurance that could

  20    cover wildfire claims, that, after having reviewed them and

  21    consulted with the internal PG&E insurance experts, we don't

  22    believe are responsive because they don't cover wildfire

  23    claims, things like fiduciary coverage for employee benefit

  24    plans, things like property insurance coverage that covers

  25    PG&E's property itself.

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   1                So I think, really, this bucket falls into two

   2    sub-buckets:     a bucket where I'm not sure exactly what it is

   3    they don't think we've given them, but we're happy to look into

   4    that; and then a bucket where we believe, based upon our work,

   5    we've actually satisfied the request, or will, in short order.

   6                THE COURT:     Yeah.       Ms. Morris, I, of course, looked at

   7    the items, the numbers all the way through number seventy, that

   8    you put there.       And I don't know -- I can't tell what kind of

   9    policies they are.        I mean, what's the relevance of a policy

  10    that might cover a direct loss of PG&E's own property or some

  11    other kind of thing that really has nothing to do with a fire?

  12    I mean, why do you want to go exploring things that clearly, on

  13    their face, aren't going to be relevant?

  14                MS. MORRIS:      Well, Your Honor, it's because we don't

  15    believe that it's clear on its face that they are irrelevant.

  16    We have an insurance specialty team that has been reviewing

  17    these policies and that have worked with policies similar to

  18    this in the past.       And without actually seeing the policies,

  19    it's not clear that they wouldn't cover claims like this.

  20                And the debtors are making blanket statements that

  21    they don't cover claims like this.             However, my insurance

  22    experts are telling me that they could, in fact.                    And so all

  23    I'm asking is that the policies be produced and the TCC be

  24    allowed to make its own determination as to whether or not the

  25    policies would provide coverage for these claims and an

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   1    additional source of recovery for these claims, as an asset of

   2    the debtor.     And so all the other lines of coverage for which

   3    we're seeking are specific to that request.

   4                THE COURT:     Well, looking at your list, starting with

   5    number 27, that's an errors and omissions policy, and then it

   6    goes on.     After that, there's an all-property insurance

   7    policies for various years.            And in every case, the debtor

   8    says -- or for many of them, starting with, let's say, number

   9    32, it says, "Debtors produced this policy.                Debtors need

  10    further information as to what's missing."                Well, if the debtor

  11    produced the policy, isn't that enough for your expert to know

  12    what that policy insures?

  13                MS. MORRIS:      Yeah, my understanding, Your Honor, is

  14    that we have not received any policies that are specific to

  15    those lines of coverage.          I believe the debtor is referring to

  16    the fact that their CGL policies or their general liability

  17    policies may cover some (indiscernible) information, but they

  18    also may have stand-alone policies in these particular coverage

  19    areas that may provide additional coverage.

  20                And so, Your Honor, we'd like to see those policies

  21    and make a determination for ourselves as to whether they do

  22    add additional pots of money to the wildfire claim and possible

  23    recovery.

  24                THE COURT:     So let's again stick with the one that I

  25    started with, number 32.          It's a general liability policy --

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   1                MS. MORRIS:      Um-hum.

   2                THE COURT:     -- ACE Bermuda Limited, and I won't read

   3    the numbers.     And your list says, "full policy not produced".

   4    But are you telling me that your experts need to look at the

   5    full policy; if they look at the face page or the coverage,

   6    that that's not going to tell them, by the way, this doesn't

   7    cover fires?     It covers lost furniture or lost something or if

   8    a PG&E truck crashes into a plaintiff or something?                   I mean,

   9    how much information is enough information?                I don't know the

  10    answer here.

  11                MS. MORRIS:      I think I can clarify.          When I was

  12    responding earlier, I was responding to the other lines of

  13    coverage.     As to the specific policies where a policy number is

  14    referenced here, that's a little bit different.                 Those are

  15    either CGL, punitive, or D&O policies.               The debtors have

  16    provided charts that say:          here's all the policies within these

  17    buckets.

  18                And we've cross-referenced their productions in quite

  19    onerous detail to those charts, to make sure we have all of

  20    those policies.       And for ones where we say the full policy is

  21    not produced, we only have maybe a declaration page or an

  22    endorsement page.       We don't have the full policy.              And without

  23    having the full policy, there's no way to tell if that

  24    coverage -- what the coverage terms are.

  25                And so I think this is a very easy one to handle.

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   1    Where we referenced a specific policy number, saying we either

   2    don't have it or that we don't have a full policy, my request

   3    is just that you order the debtors to go back and produce that

   4    full policy.     If they don't have it, that we be allowed to take

   5    discovery from -- we'll serve discovery from their broker,

   6    Marsh, who undoubtedly has it.

   7                THE COURT:     Isn't this getting a little bit

   8    attenuated?     We're supposed to dealing with estimation of fire

   9    claims, and now you're telling me you're going to take the

  10    deposition of the broker to find out if some GLP -- general

  11    liability policy or D&O policy or some other thing might cover

  12    the fire losses?       I mean, that seems to be such an extreme

  13    extension.     I just don't know why I would permit it.                It seems

  14    overly burdensome.

  15                And now, having said that, I don't know what any of

  16    these policies say.        But it seems like -- it seems far broader

  17    than I'd be inclined to order, at this point.                 I mean, the

  18    thought of taking a deposition -- of having the TCC lawyers

  19    take the deposition of the insurance broker, to determine what

  20    is not evident on the first page of a policy seems like a waste

  21    of effort.

  22                I'm going to let the debtors -- I'm going to let you,

  23    Ms. Morris, tell Mr. Orsini or the debtors, in each of these

  24    instances where the debtor says, "need further information",

  25    that you give him a response per item.               And if he can respond

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   1    and is willing to respond, that's fine.               If not, I'll do my

   2    best to try to resolve it.

   3                But keep in mind, D&O policies don't cover third party

   4    fire losses the last time I checked, and it's hard for me to

   5    understand why that would be relevant to you.                 So I'll leave it

   6    at that.

   7                Let's come back to the big question, bucket four.                 Mr.

   8    Orsini, why don't we start with San Bruno.                Why are you

   9    resisting giving them information about the San Bruno fire?

  10                MR. ORSINI:      Well, Your Honor, I think there's a macro

  11    issue that relates to both San Bruno and the Butte fire case,

  12    that we have to get into first.             As a quick response to your

  13    question, because we don't think the San Bruno fire, which was

  14    a gas pipeline explosion in a residential neighborhood nine

  15    years ago, in a circumstance where the company's insurance

  16    coverage covered all of the losses, is even remotely probative

  17    of the estimation of damages here.

  18                It's, as I was explaining to the TCC, not something

  19    the company has looked at, in any way, shape, or form.                   To try

  20    to estimate potential losses with respect to either the 2015

  21    Butte fire or the 2017/2018 fires, though Ms. Morris's argument

  22    about the work we've been doing and what the company's relying

  23    upon -- taking that argument at face value, our own approach,

  24    given our experience, has been San Bruno's just not part of the

  25    equation.     We think it's a fundamentally different type of

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   1    event that is not remotely probative here.

   2                Now, I think the bigger issue that relates, Your

   3    Honor, to both the San Bruno fire and with respect to the 2015

   4    Butte settlement agreement that Ms. Morris sort of glided over,

   5    is there is a very strong, very specific mediation privilege in

   6    the state of California.          And it prohibits either party to the

   7    mediation to turning over documents that were communicated as

   8    part of the mediation efforts -- exactly the type of documents

   9    that Ms. Morris is talking about -- the offers, the demands,

  10    the back-and-forth in a mediation, and ultimately the final

  11    settlement agreement.

  12                So absent an agreement from both sides to waive that

  13    mediation privilege, we don't believe the documents can be

  14    produced, given the clear California law.               Now, what Ms. Morris

  15    also did not mention is that I have stated to her that the

  16    debtor is absolutely prepared on its part to waive the

  17    mediation privilege with respect to the 2015 Butte settlement.

  18                If the TCC has been arguing that they're entitled to,

  19    in total, fifty-four billion dollars in damages based upon some

  20    ratio analysis to the 2015 Butte settlement, as we've stated in

  21    the filings to Your Honor, we just believe that's flat wrong.

  22    The (indiscernible) believe that's flat wrong.                 And we frankly

  23    believe that analyzing the specifics and the trends of the

  24    Butte settlements will demonstrate why that was a different

  25    fire at a different time in a different place under a different

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   1    insurance regime.

   2                And so we are one hundred percent prepared to waive

   3    the mediation privilege with respect to the 2015 Butte fire and

   4    provide that information.          The problem is we don't get to waive

   5    that ourselves.       It's not a one-party waiver scenario.              And so

   6    we asked the TCC almost a month ago whether they could talk to

   7    the trial lawyers who they're working with, including Mr.

   8    Campora, who the Court heard from earlier, to see if they would

   9    be willing to waive the privilege with respect to their part.

  10                We never got an answer back to that until after they

  11    had already told the Court that the issue was ripe for

  12    determination.       We had a subsequent call, where I said we were

  13    still waiting for this, and they told us that the answer from

  14    the trial lawyers was it's too much work.               It's too much work

  15    to go back and try to get this consent from 1,500 people.

  16                We don't have a whole lot of empathy for that

  17    position.     But in the end of the day, from our perspective,

  18    we're stuck here, because we have California law that says we

  19    can't do this.       We've said we're willing to waive this.

  20    They're here arguing to the Court that we're stonewalling and

  21    trying to hide this, but they're unwilling to make the effort

  22    to actually get the consent that would be needed to get access

  23    to the documents.

  24                The reference to confidentiality order solves nothing.

  25    The confidentiality order, as the Court well knows, is just

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   1    about exactly who can see a set of documents that are produced.

   2    But if the law says the documents can't be produced in the

   3    first instance -- and that's what the mediation language seems

   4    to say -- under California state law, the fact that you

   5    produced it subject to a confidentiality agreement doesn't

   6    change the fact that you've made an unlawful disclosure.

   7                THE COURT:     Okay.       Let me ask you this question.

   8                MR. ORSINI:      And so --

   9                THE COURT:     Mr. Orsini, I seem to recall there were a

  10    number of Butte County plaintiffs who settled and got paid and

  11    were home free, and a large number of others complained because

  12    the bankruptcy stopped them.            Focusing on the latter group, the

  13    plaintiffs who settled with Butte on Butte fire but didn't get

  14    paid, they will either fish or cut bait.               They will either file

  15    a claim, or they won't.         Correct?      And so if there --

  16                MR. ORSINI:      I would expect so, Your Honor.

  17                THE COURT:     If there's a victim of the Butte fire who

  18    has a settlement agreement that says you're entitled to X

  19    dollars and that person doesn't file a claim, that person might

  20    be out of luck.       If the person does file a claim, it would seem

  21    to me -- I don't know where there's a privilege or perhaps a

  22    privilege waived as to the final document.                I'll leave aside

  23    the negotiations and the backs and forth.

  24                But at the end of the day, if there's a document that

  25    a claimant files to say, I settled for X dollars; here's my

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   1    settlement agreement; this is my claim, it's hard for me to

   2    imagine that that document is privileged any longer.                    Do you

   3    think, Mr. Orsini, that's a correct, accurate statement or an

   4    inaccurate statement?

   5                MR. ORSINI:       Well, to answer the question, Your Honor,

   6    I don't really know the answer to that, and that's part of what

   7    we're struggling with here, because I think the face of the

   8    mediation statement -- the mediation privilege -- would

   9    arguably say -- and I think, right on its four corners would

  10    say they can't disclose that settlement agreement in this

  11    context.     Now --

  12                THE COURT:      But the claimant --

  13                MR. ORSINI:       -- as you just heard me say --

  14                THE COURT:      But the claimant can.          If PG&E --

  15                MR. ORSINI:       Well, no.      I don't think so, Your Honor.

  16                THE COURT:      Wait a minute.        If PG&E publicly states

  17    that it will waive a privilege for people they settled with --

  18                MR. ORSINI:       Yes, that's where I was going.

  19                THE COURT:      -- and Mr. X --

  20                MR. ORSINI:       Yes.      That is where I was going with

  21    that.

  22                THE COURT:      -- settled, and he files his proof of

  23    claim, that sounds to me like a waiver of any privilege.

  24                Now, Ms. Morris --

  25                MR. ORSINI:       I think you're right, Your Honor.            That's

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   1    where --

   2                THE COURT:     Okay.

   3                MR. ORSINI:      Sorry.

   4                THE COURT:     Ms. Morris, is that your understanding of

   5    the California law?        If both sides to the settlement meet and

   6    waive the existence or the four corners of the settlement

   7    document, isn't that their prerogative?

   8    MS. MORRIS:     I agree with you that the parties can waive the

   9    settlement privilege, Your Honor, but I don't think that that's

  10    the relevant analysis here.            The analysis is the fact that it's

  11    not covered by the mediation privilege from the get-go because

  12    of the related evidence code Section 113 -- 1123 which says

  13    that they're not subject to the mediation privilege or

  14    protection if the policy includes language that is admissible

  15    or subject to disclosure, or words to that effect.                  Or if the

  16    agreement provides that it's enforceable or words to that

  17    effect.

  18                So the protections are -- include specific additional

  19    provisions that would take them outside of the mediation

  20    privilege themselves.

  21                THE COURT:     Well, I don't --

  22                MS. MORRIS:      And beyond that, Your Honor --

  23                THE COURT:     But again, how do I know that?             How do I

  24    know what they actually say?            I don't know.      Who knows?

  25                MS. MORRIS:      Well, that's the point.          We have no

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   1    testimony or evidence before this Court that any of these

   2    documents are subject to the mediation privilege or are marked

   3    as such.

   4                THE COURT:     Well, we have on your side of the debate

   5    here, the plaintiffs' lawyers.            And they are in a position to

   6    express their opinions as to whether their own clients have

   7    waived a privilege.        Again, that's not -- they didn't do

   8    anything wrong.       The question is if there's a settlement

   9    agreement between Mr. X and PG&E and it has on it's face the

  10    kind of language you say, then why would anybody assert that

  11    it's privileged?       But if the debtor says, we waive any claim of

  12    privilege, it seems to me the ball is in the TCC's court and

  13    the option to make those documents available freely and

  14    voluntarily.

  15                Remember the TCC and its bankruptcy lawyers want to

  16    put together all this information to come up with an estimation

  17    of the aggregate claims for purposes of confirmation of a plan.

  18    We are not talking an individual's particular rights.                    In fact,

  19    if there's been a settlement, I don't know that there's

  20    anything to talk about in terms about estimation.                   It's a done

  21    deal.    It's not an unliquidated claim, it's not -- it's

  22    certainly not contingent, and it's not disputed.                    So it's the

  23    unliquidated claim that we're talking about.

  24                So I guess what I'm saying --

  25                MS. MORRIS:      No, actually, Your Honor --

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   1                THE COURT:     Go ahead.      Why isn't it --

   2                MS. MORRIS:      Sorry.

   3                THE COURT:     Doesn't it -- why isn't it a liquidated

   4    claim and therefore isn't even up for estimation?

   5                MS. MORRIS:      But we're not seeking the settlement

   6    agreement -- the 1,500 settlement agreements from Butte and the

   7    hundreds of settlement agreements from San Bruno, we're not

   8    seeking it for purposes of determining the value of those

   9    claims.    We're seeking them, quite frankly, for the same reason

  10    that the debtors are using them.             Because they provide a lot of

  11    useful data points from which the TCC and all the parties can

  12    use to estimate claims in this process.

  13                All of the debtors' documents that they've produced so

  14    far give reference to the fact that they are relying upon prior

  15    settlement data to analyze what the value of the future claims

  16    are worth.     Because they're identical.            They contain property

  17    losses.    They contain nuisance claims.             They contain zone of

  18    danger claims.       They contain emotional distress claims and

  19    wrongful death claims.         They're the exact type of claims under

  20    very similar circumstances as what we're trying to estimate now

  21    and the debtors recognize the relevance and importance of this

  22    because they're relying upon them in how they're approaching

  23    estimation.

  24                And so the bankruptcy courts regularly recognize this

  25    and the Eagle-Picher case is probably the most prominent one on

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   1    point but all of the (indiscernible) cases do as well.

   2                THE COURT:     You know, it doesn't help -- Ms. Morris,

   3    it doesn't help for you to keep citing a bankruptcy court level

   4    case.    It's not controlling doctrine.            I will consider it but,

   5    on the fly, I can't.        Okay?      I prepared for a discovery

   6    dispute, not for a legal argument about the applicability about

   7    another bankruptcy court decision.

   8                And I know it's an important case but I don't -- I

   9    have to deal with it in this case.             If to the extent -- you

  10    persuaded me that to the extent that the debtor is going to

  11    rely on this data for its part of the calculation to estimate,

  12    then indeed they -- you should be entitled to it also.                    I don't

  13    disagree with that.

  14                But I will say that if there is a claimant who settled

  15    and the only thing that happened is that -- well, one --

  16    claimant A settled and got paid, claimant B settled and didn't

  17    get paid, those two claims may be relevant for various purposes

  18    but neither of them is disputed or unliquidated.                    Each is

  19    liquidated and each is undisputed.

  20                Now, does that mean it's taken into account for

  21    purposes of the estimation?            I don't have an answer.          But I

  22    would think that the inquiry that the trier of fact has to make

  23    here for purposes of confirmation or -- well, for confirmation

  24    purposes at the moment, is that's not an unliquidated claim,

  25    it's not considered.        Now, I -- you all and you, Ms. Morris,

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   1    specifically, have done much more research and learning on

   2    this.    I have not.      So you may believe that I have overstated

   3    or oversimplified and if so then I will hope to be educated

   4    when I have to.       For now, I'm just dealing with it as a

   5    discovery dispute.

   6                And so I -- look, I'm looking for a solution for at

   7    least the Butte fire discovery question and it strikes me that

   8    maybe the answer is found in the plaintiffs' willingness to

   9    consent, at least, to the providing of the information that

  10    we've talked about.

  11                Mr. Orsini, was that you about to speak or someone?

  12                MR. ORSINI:      It was, Your Honor.         I was going to

  13    offer, at least what I view is a constructive solution.                    One

  14    piece of it is what you just said which is that the easiest

  15    path here is for the plaintiffs' lawyers to get the consent of

  16    their clients and then we don't have an issue.                 Because

  17    ultimately, as I stated Your Honor, the debtors want to get

  18    this information into the TCC's possession and ultimately

  19    before the Court.       What I can't do is advise my client to

  20    produce documents when I think we might be violating California

  21    state law.

  22                And so I think in the first instance, the easiest

  23    solution is the consent from the plaintiffs' counsel.                    And if

  24    we're unable to get that consent, frankly, it raises my concern

  25    about producing the documents because you don't hear them

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   1    saying that the documents can just be produced.                 And so we've

   2    got a legal question as to the ability if the debtor, my

   3    clients, turn them over.          If we don't get the consent of the

   4    plaintiff's lawyers, maybe then we need to have a motion teed

   5    up for the Court, I hate to suggest more paper Your Honor but

   6    this is an important issue, we have a motion teed up for the

   7    Court, a motion to compel from the TCC, where they can set

   8    forth specifically why they believe we actually can produce the

   9    documents under California law.             We can provide Your Honor with

  10    a counterargument and if Your Honor agrees with the TCC which,

  11    you know, frankly, would be the outcome we're looking for here,

  12    there would be an order that requires us to produce the

  13    documents.

  14                THE COURT:     Well, Mr. Orsini --

  15                MR. ORSINI:      As we stand here --

  16                THE COURT:     Mr. Orsini, why can't you in the aggregate

  17    estimate -- why can't you say, what are the amounts and the

  18    number of claims settled and the number and the amount of money

  19    paid or committed to be paid to settle Butte?                 That doesn't

  20    disclose a specific --

  21                MR. ORSINI:      But we can, Your Honor.

  22                THE COURT:     I mean, when it comes to an estimate -- if

  23    we were having an estimation trial, we wouldn't be looking at

  24    individual documents, we'd be looking at the aggregate.                   And

  25    this goes back to my point about if the claims are liquidated

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   1    and no longer disputed, I don't even know they are relevant.

   2    But let's assume that it is.            Certainly the debtor is able to

   3    say, we had X number of claims asserted against us in Butte and

   4    we settled for Y amount of dollars.              And I would think that

   5    that might very well be probative in terms of, well, okay, what

   6    is the inference one might draw to estimate the claims for the

   7    Atlas fire or the -- some other fire, if there's a comparable

   8    of fires.     There certainly might not be comparable fires but

   9    they're comparable of the kinds of damages that are asserted by

  10    the victims and what got them compromised and settled.

  11                MR. ORSINI:      And to address that, Your Honor, I do

  12    believe we can disclose the aggregate number.                 We have

  13    disclosed that aggregate number.             It's in the company's

  14    financial statements.         The aggregate numbers are in the

  15    documents that have already been produced to the TCC.                   But this

  16    is where there could be significant prejudice to the debtors

  17    and other stakeholders if we're just talking about the

  18    aggregate number.

  19                A fire from 2015 that involves different geographies,

  20    different claims, different insurance law, we don't believe the

  21    aggregate number itself would fairly and accurately describe

  22    what an estimated liability would be for the current fires.

  23                THE COURT:     But isn't that for your --

  24                MR. ORSINI:      And while the --

  25                THE COURT:     -- isn't that for your expert to say?              In

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   1    other words, doesn't --

   2                MR. ORSINI:      It is, Your Honor.        It absolutely is for

   3    our expert to say, but how can our expert do that and how can

   4    our expert do that with any level of confidence to present to

   5    Your Honor if the expert can't dig into what drove particular

   6    settlements.     But why it -- you know, taking a sampling of the

   7    settlements, why did this amount of money get paid out for this

   8    type of claim?

   9                THE COURT:     But that -- Mr. Orsini, I --

  10                MR. ORSINI:      And how does that --

  11                THE COURT:     I think that's why estimation is

  12    different.     In other words, if we were having a trial with a

  13    group of plaintiffs here each to prove his own case and it may

  14    be inappropriate to look to see the specifics of settlements of

  15    some prior claims of some prior people in comparable

  16    situations.     But when there's an estimation, by definition it

  17    is an aggregate approach.

  18                Now, I believe that an expert on one side or the other

  19    might try to say, well, why is the Butte fire different from

  20    the Camp fire, or the Tubbs fire, or any other fire?                   And

  21    indeed, I'm sure your experts would say, well, of course, the

  22    San Bruno fire is completely different and so was the Goshen

  23    fire.    Because they are different.           The question is whether

  24    they are relevant for purposes of making an estimation, and if

  25    an expert says, you know, whether it's Atlas or Camp or you

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   1    know whatever the other names of all the other fires, it's all

   2    part of the aggregate estimation of property damage, wrongful

   3    death, personal injury, et cetera.             That's much different.

   4                So I guess what I'm saying is that I don't know why

   5    you can't provide enough detail that protects the privilege but

   6    is responsive to how do you, as PG&E's counsel go about your

   7    estimation of this component called the Butte 2015 fire.                      And

   8    it seems to me that could be shared with the plaintiffs.

   9                And I don't know this for sure but I'm pretty sure

  10    that the estimation process is unique to bankruptcy.                   I

  11    don't -- there may be similar processes in class actions and in

  12    multi -- mass tort litigation under state law or even under

  13    federal civil practice but in thinking about this case, as I

  14    have a lot lately also, and reading the briefs, I'm not sure

  15    I'm aware of any counterpart or corollary to the estimation

  16    process that has to be done under Section 502(C).

  17                So let's get back to work.           Ms. Morris, I think --

  18                MS. MORRIS:      Your Honor, if I could respond to --

  19                THE COURT:     Well, I think --

  20                MS. MORRIS:      -- your comments and Mr. Orsini's?

  21                THE COURT:     Well, yeah.       But I think you're going to

  22    have to be -- give me more information before I can order what

  23    you want me to order at this point.              And I -- including -- I'm

  24    really not at all of the view that the San Bruno fire is fair

  25    game for this one.

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   1                But go ahead, Ms. Morris.

   2                MS. MORRIS:      Sure.     Thank you.

   3                I think Your Honor is exactly right on the relevance

   4    of this information.        It's information that the debtors are

   5    relying upon in how they're estimating the tort claims here for

   6    '17 and '18.     And it's relevant because it's the exact same

   7    types of causes of action and damages that were occurring in

   8    2015 are occurring here in '17 and '18.

   9                And the bigger picture is that we are looking at maybe

  10    a six-month window in which we need to estimate claims.                     The

  11    debtors have been looking at this data set for months and

  12    months.    And they're using it to estimate claims and they're

  13    referring to it in public filings and internal documents as the

  14    source of how they're estimating the claims that they

  15    aggregate.     And it's even broken down by different categories

  16    of losses, like, tree loss and emotional distress.                  These

  17    documents are extremely relevant.

  18                We are happy to brief the issue on the settlement

  19    agreements and related documents themselves.                But at least for

  20    today -- and to put the TCC on the same footing as the debtors

  21    and looking -- and starting to estimate plans and look at how

  22    we're going to estimate claims in this expedited process, we

  23    would ask that you order, at a minimum, that the debtors be

  24    forced to produce their internal data spreadsheets -- and we

  25    know they have them because we have them for a hundred or so of

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   1    the Butte cases -- the internal spreadsheets that give the

   2    settlement amounts in the aggregate, as well as their

   3    allocation of those settlement amounts to various types of

   4    claims, like, property loss, tree loss, emotional distress,

   5    because that's exactly what they're referring to in their

   6    estimation-related documents, and we should be given access to

   7    the same thing.       And then we can separately brief the issue, as

   8    Mr. Orsini suggested, on the actual settlement agreements and

   9    demands themselves, if Your Honor wishes.

  10                There's over 2,800 people who settled these claims in

  11    San Bruno and in Butte.         Some of them are no longer living.

  12    The plaintiffs' lawyers do not represent all 2,800 and they

  13    can't consent on behalf of 2,800 people.

  14                So Mr. Orsini's suggestion that we have to go back to

  15    2,800 people is a nonstarter, and not only that, we contend

  16    that it's not necessary under the relevant California law, but

  17    we can brief that issue.

  18                But at least for purposes of today, we'd ask that Your

  19    Honor rule that they have to produce the spreadsheets that show

  20    the settlement amounts with the allocations to the various

  21    categories of the plan.

  22                THE COURT:     Mr. Orsini, are you willing to continue

  23    your hat trick of roles here?            Are you going to agree to that

  24    spreadsheet?

  25                MR. ORSINI:      I would love to, Your Honor, but I can't

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   1    because I don't believe it's a separate issue.                 It's the same

   2    mediation-protected information just taken out of one document

   3    and put into another.         That doesn't change the fact that --

   4                THE COURT:     But what makes that document -- what makes

   5    that internally and generated aggregate document privileged?

   6    It's --

   7                MR. ORSINI:      Because the information contained in

   8    the -- the information from the mediation itself is what is

   9    protected from disclosure.

  10                THE COURT:     Well, how are you --

  11                MR. ORSINI:      And so it's not --

  12                THE COURT:     Well, how are you going to produce it at

  13    trial?    I mean, you're not going to have a trial --

  14                MR. ORSINI:      Well, Your Honor, that's where --

  15                THE COURT:     -- with only one side here, are you?               No,

  16    I mean --

  17                MR. ORSINI:      Well, no, we don't want to have one, Your

  18    Honor.

  19                THE COURT:     Mr. Orsini --

  20                MR. ORSINI:      And that's --

  21                THE COURT:     -- if you've got twenty -- forget --

  22    again, I'm going to put San Bruno aside.               So Ms. Morris said

  23    that there are 2,800 settlements.             Let's assume there's some

  24    large number lower than 2,800.            So that means that there are

  25    some numbers of settlement agreements.               But all of those

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   1    settlement agreements are considered in the aggregate and put

   2    into a spreadsheet for you to say, our total exposure for

   3    personal injury was this, and tree damage was that, and

   4    property damage was that.          What makes that spreadsheet or that

   5    work product privileged?          It's not.

   6                MR. ORSINI:      No, but there are two issues though, Your

   7    Honor.    Number one, with the spreadsheets that Ms. Morris is

   8    talking about, we've provided aggregate numbers.                    But the

   9    spreadsheet that she's talking about is breaking it down into

  10    damages category, and then breaking it down further into

  11    individual settlements.         And the individual settlement level

  12    information is protected by mediation privilege.

  13                THE COURT:     Does the spreadsheet --

  14                MR. ORSINI:      And also (indiscernible) --

  15                THE COURT:     Wait, hold on.        Does the spreadsheet name

  16    the claimants, the individuals?

  17                MR. ORSINI:      It does, Your Honor.         It does, Your

  18    Honor.

  19                MS. MORRIS:      Your Honor, if I could -- if I could

  20    interject.     We have one of those spreadsheets already and

  21    they've redacted the identifying information for the claimant.

  22    They produced a spreadsheet related to the 2015 San Bruno fire

  23    and it redacts the --

  24                THE COURT:     No, 2015 --

  25                MS. MORRIS:      -- names of the claimants.

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   1                THE COURT:     2015 --

   2                MS. MORRIS:      I'm sorry.      I'm sorry 2000- --

   3                THE COURT:     -- Butte fire.

   4                MS. MORRIS:      Yeah, sorry.       Thank you for the

   5    clarification.       The 2015 Butte fire and it redacts the

   6    claimants' names but it's only for a hundred of those 2,800

   7    settlements.

   8                THE COURT:     Okay.

   9                MS. MORRIS:      The one thing that they did redact was

  10    their allocation of which amount goes to which bucket, which is

  11    absolutely necessary here for the claims estimation process.

  12                In addition, they've produced this information to the

  13    SEC as part of the SEC's investigation.               And so we contend,

  14    Your Honor, that they can't selectively redact this information

  15    and rely upon it for estimation and selectively redact it.                    And

  16    so we've seen the version of the spreadsheet.                 Our request is

  17    that they produce it, not just for a hundred, that they produce

  18    it for all 2,800.

  19                THE COURT:     Okay.       Again --

  20                MS. MORRIS:      And that the redactions that are not

  21    identified redactions be removed.

  22                THE COURT:     Ms. Morris, again, I'm --

  23                MR. ORSINI:      Your Honor, if I may?

  24                THE COURT:     -- I'm not rolling over on San Bruno.              So

  25    I'm prepared, I think, to agree with you for Butte until Mr.

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   1    Orsini tries to persuade me otherwise.               But it seems to me

   2    redacting the names of the individuals does not disclose what a

   3    particular individual's claim was or what you settled with that

   4    individual for because you don't tell who the individual is.

   5    So what's wrong with that reasoning?

   6                MR. ORSINI:      So Your Honor, that may very well be

   7    accurate reasoning, but I think that issue needs to be briefed

   8    because it's not clear to me that California law supports that

   9    outcome.     And so all I'm asking is that the Court hear both --

  10                THE COURT:     But do you have any sense that why would

  11    California do it?       In other words, did PG&E, did you breach the

  12    confidences of the mediation when you turned it over the SEC?

  13                MR. ORSINI:      No, Your Honor, because we did not

  14    provide anything to the SEC that were not already -- that we

  15    have not provided to the TCC in this context.                 They got the

  16    same version of this spreadsheet that the SEC received.

  17                THE COURT:     Then give them --

  18                MR. ORSINI:      We made redactions --

  19                THE COURT:     Give them the same version of all the

  20    spreadsheets then for Butte.

  21                MR. ORSINI:      We've said we will, Your Honor.            We've

  22    said we will.

  23                THE COURT:     Well.

  24                MR. ORSINI:      The SEC was focused, Your Honor, on one

  25    particular -- or a couple of years' worth of disclosure.                      And

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   1    so the more recent versions of the spreadsheet that cover later

   2    years and more of the settlements, the SEC was not interested

   3    in receiving.

   4                So what we've said is, we will provide, in the same

   5    redacted form, the updated years to the TCC.                We've already

   6    said we would do that.

   7                What the real dispute here, Your Honor, is, is with

   8    respect to the more detailed information with the offers, with

   9    the agreements, with the responses, and that's the one that I

  10    think Your Honor needs to be --

  11                THE COURT:     But I think I've --

  12                MR. ORSINI:      -- briefed, and there --

  13                THE COURT:     But I've agreed -- I'm agreeing with you

  14    on that.     But that's --

  15                MR. ORSINI:      No, I understand, Your Honor.

  16                THE COURT:     That's not relevant.

  17                MR. ORSINI:      I just wanted to make sure --

  18                THE COURT:     That's not, to me, if we were at a trial

  19    and the issue -- look, for those of you that are not bankruptcy

  20    lawyers, let me just give you Bankruptcy 101 here.                  We could

  21    have an -- and leave aside whether it requires Article III or

  22    not, that's not my point for what I'm making.

  23                You could have an estimation trial with one claim.

  24    You could have one individual who was injured by someone in

  25    bankruptcy, but it's going to take years to determine the sum

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   1    total of that person's injuries.             But you would have to

   2    estimate it to move under 502(c) -- for 502(c) to operate.

   3                And so you wouldn't have a trial, you would have

   4    something else, an estimation.            What do you have to do to

   5    estimate this individual?          The person lost a leg.           Okay.     What

   6    is the damages?       This person suffered traumatic injury.                What

   7    are the projections?        Well, this person suffered crippling

   8    physical injury.       What are the estimations?           And it's an

   9    estimation.

  10                So when we multiply it by thousands, obviously, it

  11    gets more complicated.         But it's the same inquiry.            It's not

  12    the trial, it's the estimation of the liability.

  13                So I'm inclined to -- of the opinion that, for

  14    openers, anything that relates to any of the fires that we're

  15    talking about, and the only thing we've talked about today in

  16    calendar year 2015 is the one fire about Butte in Butte County.

  17    I don't remember, going back to the hearing we had on the claim

  18    deadline, whether there's some other fires that I've forgotten,

  19    but you all know what fires are part of the aggregate label

  20    California Wildfires.         And we know that Ghost Ship is in that

  21    label, San Bruno is not.          And I'm not talking about the Ghost

  22    Ship issue today.

  23                So at least for today's purposes, without further

  24    briefing, I'm inclined to say that the debtor will have to

  25    produce, for the Butte 2015 fire, all the information that it's

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   1    given to the SEC.

   2                And for now, I'm not going to order them to produce

   3    anything about the San Bruno fire because I'm not persuaded

   4    that -- at this point, that the San Bruno fire explosion, and

   5    what happened there, would be legally relevant at an estimation

   6    trial for the 2015, '17, and '18 wildfires.                That's not, and

   7    I'll keep an open mind about it, but I'm doing this on the fly

   8    today, and Ms. Morris, I'm not prepared to give that to you at

   9    this point.

  10                Now --

  11                MS. MORRIS:      Your Honor, could I just seek one

  12    clarification of your order?

  13                THE COURT:     Yes.

  14                MS. MORRIS:      So Mr. Orsini said that the only

  15    information they gave to the SEC are these hundred cases, a

  16    spreadsheet that we already have.             And it's a hundred of the

  17    over 2,000 settlements from 2015.

  18                I would request that you consider clarifying your

  19    order to include all of the 2015 Butte settlements and include

  20    all of the allocations that PG&E used to put the total

  21    settlement amount into the different buckets of claims because

  22    that's how they're using it for purposes of estimation.

  23                THE COURT:     Well, I --

  24                MS. MORRIS:      And to put everybody on the same playing

  25    field, that's how we'd like to use it.

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   1                THE COURT:     Ms. Morris, I thought I was -- maybe you

   2    did a better job of restating it.             That's what I had in mind.

   3                So Mr. Orsini, that's what I intend by this ruling.

   4                MR. ORSINI:      Your Honor, just to clarify, we have no

   5    objection to providing additional spreadsheets that provide the

   6    same level information that we provided to the SEC, which will

   7    cover additional settlements for additional years.

   8                What we do object to providing, on the basis of the

   9    mediation privilege and the point I was getting to, there's

  10    also attorney work product associated with it, the unredacting

  11    that which was redacted to the SEC, we don't believe is

  12    appropriate, and that needs to be further briefed if the

  13    Court's going to order that issue.

  14                THE COURT:     No, I'm agreeing with you.           I mean, I

  15    don't know what this spreadsheet looks like.                But if the

  16    spreadsheet has Mr. X is the plaintiff, and you believe

  17    disclosing his status or his, as it is, and it's in any way

  18    relevant to -- I mean, it may be relevant -- it may be public

  19    knowledge, he may have been a coplaintiff, it doesn't matter.

  20    If it links up to something that PG&E has settled that should

  21    be privileged, then I'm not changing that at this point.

  22                But the allocation into the nature -- I mean, look, if

  23    you say whatever the number is, 2,200, 25, you know better than

  24    I the number of claims that are 2015 Butte fire settlements.

  25    There is a spreadsheet that one could look at and determine

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   1    lots of information, what kind of claims were settled and what

   2    were the aggregate amounts settled.              It seems to me that is

   3    perfectly proper.       And to me, the test here is, if you think

   4    you would have the -- you would be able to produce it at an

   5    estimation trial, clearly, they have to have it the same way.

   6    They, meaning TCC, but also the subrogation committee.

   7                And certainly, it goes without saying, that the

   8    information that's provided to the SEC has to be given to those

   9    two groups as well.        And I'm not asking for attorney-client --

  10    excuse me, attorney work product.             I'm not asking for specific

  11    disclosures that are, at this point, on this record today, were

  12    part of a settlement agreement.

  13                If Ms. Morris is right that the settlement agreement

  14    on its face has an opening for disclosure elsewhere, let's find

  15    out.     You've provided her, I take it, with specimens of

  16    settlement agreements, haven't you?

  17                MS. MORRIS:      No, we haven't Your Honor.

  18                MR. ORSINI:      We have not.

  19                THE COURT:     Well, but --

  20                MR. ORSINI:      But we can do that.         We can do that.

  21                THE COURT:     You can blank out all the personal

  22    information on a settlement agreement and say this is the

  23    settlement agreement that was used, right?                You could do that,

  24    can't you?

  25                MR. ORSINI:      Yes.      I'm happy to share a specimen,

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   1    sample settlement agreement with them so they can understand

   2    what the language is, and we can talk with them about their

   3    argument.     There is something on the face of that settlement

   4    agreement means it actually can be produced.

   5                THE COURT:      And Ms. Morris, I take your word that

   6    there are a lot of victims of Butte fire who perhaps died,

   7    perhaps are not accounted for, perhaps are not represented by

   8    counsel.     But you have access to a lot of those settlement

   9    agreements that the very lawyers who are working with you, I'm

  10    sure, can provide you with a check to look and compare what

  11    they hold for their clients, vis a vis what Mr. Orsini and his

  12    client makes available to you as the specimens.                  And the

  13    message is, he better provide specimens of things that are

  14    consistent with what have been produced.                And I'm going to take

  15    his word that he's going to do that.               All right.

  16                MS. MORRIS:       Thank you, Your Honor.          And I think that

  17    will help.     And just one last clarification, Your Honor.                    And

  18    it may be that we don't even need to come back to you for the

  19    actual agreements and the demands.              I'll hold that in reserve

  20    for further briefing if we get these spreadsheets in the manner

  21    that Your Honor is producing them.              But I would like to make

  22    one clarification.

  23                There are two types of redactions on these

  24    spreadsheets.        One is for claimant identifying information,

  25    like their names, and we are in agreement with the debtors and

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   1    with the Court that those should stay redacted.

   2                There's a separate type of redaction and they're

   3    redacting the allocation amounts.             And I believe Mr. Orsini is

   4    claiming that they're subject to work product.

   5                And I would ask that Your Honor order that these be

   6    produced without those redactions.             The allocations are the

   7    ones that say this claim settled at this dollar amount, and we

   8    take this amount that goes to the emotional distress component,

   9    this amount goes to the property loss component.                    Without that

  10    information, Your Honor, the total dollar amount of the

  11    settlement is no more information than we can get just from the

  12    debtors' report as to what their total liability is.

  13                THE COURT:     Well --

  14                MS. MORRIS:      We absolutely need that information, and

  15    PG&E's internal records make it clear that they're relying upon

  16    that allocation and those specific dollar numbers to drive

  17    their estimation numbers.          So it's critical that we get that,

  18    Your Honor.

  19                THE COURT:     Well, Mr. Orsini --

  20                MS. MORRIS:      And it may negate the need for the

  21    settlement agreements themselves.

  22                THE COURT:     Mr. Orsini, let me ask you a question

  23    since I presume -- were you personally involved in the 2015

  24    settlements, or are there some other lawyers in your firm?

  25                MR. ORSINI:      No, I was not personally involved, Your

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   1    Honor, and it's not my law firm.

   2                THE COURT:     Well, then maybe you can't answer the

   3    question, but I'm sure you've seen them.               So if you looked at a

   4    settlement agreement with one of the victims, does that show an

   5    allocation or does it have the usual --

   6                MR. ORSINI:      It does not.

   7                THE COURT:     -- recitals about so and so was injured,

   8    or lost property and here's the settlement?                So on the face of

   9    the document, like you'd see in any settlement agreement, there

  10    would be an assertion, you know, plaintiff contends A, B, C;

  11    defendant denies A, B, C, but the parties settle for one

  12    million dollars.       It's probably more like that than a breakdown

  13    of how much for the dog, and how much for the car, and how much

  14    for the other components, right?

  15                MR. ORSINI:      You're right, Your Honor.          I have looked

  16    at a number of these contracts, a number of these settlement

  17    agreements, and every one that I have seen has simply a lump

  18    sum settlement amount.         And the amounts that are then, for

  19    internal purposes, allocated, including to inform further

  20    settlement discussions that the attorneys were having, that's

  21    done through an exercise of attorney work product.

  22                THE COURT:     Yeah, but --

  23                MR. ORSINI:      Now, there are other documents that are

  24    subject to the mediation privilege that are exchanged between

  25    the mediating parties that actually do break it down.

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   1                THE COURT:     No, but if --

   2                MR. ORSINI:      Claim demand letters --

   3                THE COURT:     But if there's a document that was used

   4    internally at PG&E, perhaps for the future settlements in 2015,

   5    I don't know why that would be privileged.                In other words, I

   6    don't know why, if it's work product -- it might be work

   7    product, but it may be relevant here.              I mean, does work

   8    product mean privileged?

   9                In other words, if somebody in your firm or the

  10    company took Mr. X's million dollars and did some internal

  11    calculation from other information and says, you know he had a

  12    new car, and he had an old cow, and he had a broken down fence,

  13    and he suffered crippling injuries, and these are the

  14    components, that's an internal allocation, but I don't know why

  15    it would be privileged.         Why would it be privileged?

  16                MR. ORSINI:      Well, it's an internal allocation, Your

  17    Honor, that's being done by lawyers for the purpose of

  18    conducting further mediations and settlement discussions.                     So I

  19    think it is absolutely protected attorney work product.                   And to

  20    the extent that the Court is inclined to require the production

  21    of the internal work product, we would ask to be able to submit

  22    briefing on that issue.

  23                THE COURT:     Well, you can --

  24                MR. ORSINI:      That's an important issue.

  25                THE COURT:     -- have briefing on it, but again, we

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   1    start with if you think you're going to get it into evidence as

   2    part of your estimation, if your estimation is --

   3                MR. ORSINI:      I understand that part, Your Honor.

   4                THE COURT:     You know, it's a lost argument here.                All

   5    right.    Let's defer on that one.           Going back to --

   6                MS. MORRIS:      Your Honor, I would -- Your Honor, if I

   7    could just respond briefly?

   8                The debtors have already waived any privileges over

   9    this information by using it in connection with estimations

  10    that they're already doing in their SEC filings, and in

  11    estimating claims in the aggregate of thirty billion.                   They

  12    have to know how those settlement agreements break out between

  13    the different categories in order to use them to estimate

  14    claims.    They intend to use those settlement agreements to

  15    estimate claims in this case, and they've waived any privileges

  16    associated with it.

  17                And not only that, to claim privilege over some of the

  18    information but not other information, to deny the tort

  19    claimant the ability to evaluate and estimate claims in the

  20    same exact manner that they've doing for months and months, is

  21    just unfair and the selective waiver law in the Ninth Circuit,

  22    I think should be factored in here.              But they shouldn't be able

  23    to claim work product protection, yet pick which information

  24    they want to disclose and be able to use the redacted

  25    information themselves while denying us the ability to do so.

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   1                And so further briefing is going to further delay

   2    this.    It's critical information that we need to start

   3    estimating these claims and to start the estimation

   4    proceedings, and I would ask that Your Honor consider ordering

   5    them to produce the charts that they've already agreed to

   6    produce, but with the allocation to the different components,

   7    as Your Honor stated before is absolutely relevant to

   8    understanding this, that they be ordered to produce it today.

   9                We can defer all arguments on San Bruno and on getting

  10    the actual settlement agreements until later, but this is

  11    critical information that we need to start looking at

  12    estimation and to be on the same level playing field as the

  13    debtors here.

  14                THE COURT:     Mr. Orsini, I'll state it differently.                I

  15    don't have to break it down into these elements.                    I'd say if

  16    PG&E, either in this court or publicly, or in press releases,

  17    or in SEC filings, or in filings before Judge Alsup or anywhere

  18    else has said, we think our estimate of liability for this

  19    particular fire or these fires is X, I think a fair

  20    interrogatory would be, how did you get to X?                 And if the

  21    answer is well, we can't tell you because it's privileged,

  22    that's not a winning argument.            Because if you -- again, we're

  23    back to the point, if you're not going to explain it as a

  24    matter of discovery, I'm not going to let you show it as a

  25    matter of proof.

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   1                So I think I'm going to go with what Ms. Morris argues

   2    here, unless you believe this is a miscarriage of justice and

   3    needs immediate briefing, then you better brief it quickly.                    So

   4    let's leave that for now.

   5                And Ms. Morris, the last item that was on my list,

   6    when you were describing your buckets after we talked about

   7    settlements in 2015 Butte, you then went to what's included in

   8    the estimate.        Generally, I presume, you're -- that means even

   9    beyond Butte.        So much of the last hour -- or half-an-hour,

  10    we've been talking about, are things that, for reasons I

  11    (indiscernible), maybe aren't even any more estimated claims,

  12    they may be liquidated claims.

  13                You want the same kind of information for the 2017 and

  14    2018 fires, which I think for almost probably one hundred

  15    percent are unliquidated except -- well, I presume they're

  16    unliquidated except maybe the public settlement that PG&E

  17    brought in with Butte County.             That is one that's no longer

  18    unliquidated.        But otherwise, for individual claimants, do I

  19    understand your argument correctly?

  20                MS. MORRIS:       No, I think the documents, specifically

  21    that we were looking for, they are -- the SEC has opened an

  22    investigation, that the debtors have disclosed in their public

  23    filings, and the purpose of that investigation, as reported by

  24    the debtors in their public filings, is that the SEC is seeking

  25    information relating to the debtors' public disclosures and

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   1    accounting for losses associated with the 2017 and 2018 wild

   2    fires and the 2015 Butte fire.

   3                And our request is simply that they be obligated to

   4    produce the same information they're producing to the SEC to

   5    the tort claimants.        They said, in their response to Your

   6    Honor's request for the pleadings that led to today's hearing,

   7    that they're only producing that information to the extent it's

   8    responsive to another request.            And we would ask that Your

   9    Honor order the debtors to produce it all, and not just

  10    selectively pick what they want to produce as responsive to

  11    other requests, given that the narrow focus of the SEC

  12    investigation is exactly what we're talking here, which is

  13    estimation of the 2017 and '18 wildfire liability.

  14                THE COURT:     Well, when you were describing your four

  15    buckets, what I wrote down for number four, in your words -- I

  16    won't quote you verbatim -- but your words were, there are two

  17    sub-buckets and the first of the two was the settlement 2015

  18    and 2020 San Bruno.        And then the second one, I wrote, what was

  19    used to estimate them, unless I misunderstood you.

  20                So I'm not sure what you want me to order the debtor

  21    to do now, beyond what we've just talked about.                 So I've stated

  22    again -- forget --

  23                MS. MORRIS:      I -- I'm --

  24                THE COURT:     -- 2015 --

  25                MS. MORRIS:      Sure.

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   1                THE COURT:     We're past that.        If I asked you --

   2                MS. MORRIS:      Yes.

   3                THE COURT:     -- to describe specifically what you want

   4    me to tell Mr. Orsini he has to produce beyond that, just

   5    restate it so we're on the same page.

   6                MS. MORRIS:      Sure.      Any information upon which the

   7    debtors rely to estimate fire claims exposure for 2017 and

   8    2018, which would include anything they produced to the SEC in

   9    response to their nearly identical requests for the debtors.

  10                THE COURT:     So it's, "which would include" which

  11    means, therefore, anything else?

  12                MS. MORRIS:      Yes.

  13                THE COURT:     Okay.

  14                MS. MORRIS:      So it's everything beyond the settlement

  15    agreements and documents that the debtors are using to estimate

  16    their liability in which they've relied upon in their SEC

  17    filings and other documents to estimate the aggregate of their

  18    liability for 2017 and 2018 fires.

  19                THE COURT:     Okay.       But what about if Mr. Orsini tells

  20    me there's some privileged work product included there?                   What

  21    do I do about that?        He's entitled to protect that, isn't he?

  22                MS. MORRIS:      If they use it in connection with

  23    estimating claims and public filings with the SEC or in public

  24    statements made with this Court, then I would argue that it's

  25    not privileged.       And so I -- to the extent that it's their

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   1    expert work product or whatever, they can certainly put that on

   2    a privilege order for documents, produce a log identifying the

   3    documents or stating that it's an expert work product.                   But to

   4    the extent that they're relying upon that information to give a

   5    public disclosure about the extent of their liabilities, I

   6    would argue that that's not privileged or subject to any

   7    protection.

   8                THE COURT:     Okay.

   9                Mr. Orsini, you got the message here?

  10                MR. ORSINI:      Don't miss the fact, Your Honor, could --

  11    I think a couple of issues are being confused here.                   With

  12    respect to the SEC investigation, what we have told the TCC was

  13    that if there are documents we've produced to the SEC that

  14    relate to the estimates of liability for the 2017 and 2018

  15    fires -- which is exactly the coverage of the document request

  16    the TCC has already served -- we're producing them.                   So we're

  17    producing those documents by subject to privilege, subject to

  18    mediation confidentiality.

  19                If there are other documents on other topics that we

  20    have produced for the SEC, we're not agreeing to just give them

  21    all of those documents because they've been given to the SEC.

  22    If they can articulate a need and relevance to any other

  23    documents on other topics, so be it; we can talk about those in

  24    the context of discovery requests.

  25                So I don't think there's really a dispute with respect

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   1    to the SEC documents as Ms. Morris just articulated them.                     If

   2    it's a document we produced to the SEC that relates to the 2017

   3    and '18 wild fire claims liability estimates, those documents

   4    have already been provided to the TCC in the same format they

   5    were produced to the FCC.

   6                Separately, with respect to documents that were

   7    flagged either mediation privileged or attorney work product,

   8    we have not produced those to the SEC, and we do not believe

   9    that those tenure should be produced to the TCC even if they

  10    were also used as part of public disclosure.

  11                And that's an issue that, as I said, Your Honor, has

  12    not been briefed.       We believe that we're correct in the

  13    California law, and we're happy to brief that quickly.

  14                THE COURT:     Well, Ms. Morris, I'm --

  15                MS. MORRIS:      Your Honor, that doesn't address the

  16    question --

  17                THE COURT:     All right.       Go ahead.     I'm having trouble

  18    keeping up with you.

  19                MS. MORRIS:      That doesn't --

  20                THE COURT:     Go ahead, Ms. Morris.

  21                MS. MORRIS:      That doesn't address the question of

  22    whether if the debtors used documentation to support the

  23    thirty-billion-dollar number that they put in their SEC filings

  24    as what they're expecting their disclosure could be, not

  25    inclusive of punitive damages and fines and other amounts.

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   1    Whatever documents they relied upon to come up with that

   2    number, they've waived the privilege over that.

   3                So separate and apart from what they've produced to

   4    the SEC, and whatever they're claiming as protection for the

   5    SEC, they've waived any privilege when they relied upon those

   6    documents and put down that thirty-billion-dollar number in

   7    their SEC filing or to put that number in the filings they've

   8    made in this Court or in public statements.

   9                THE COURT:     Okay.       So to state it differently, if Mr.

  10    Orsini said that you've been given what's been said to the SEC,

  11    what you're saying is, if you said to the SEC that the estimate

  12    is thirty million, what do you have to rely on making that

  13    statement; and he's saying -- and you're saying he hasn't

  14    produced that; is that correct, Ms. Morris?                That is --

  15                MS. MORRIS:      That's right.       We've gotten very limited

  16    productions in that regard.            And --

  17                THE COURT:     Okay.

  18                MS. MORRIS:      And he said that he would produce some

  19    information, but he's also withholding a bunch of information

  20    on privileged ground, and I would argue that they're not

  21    privileged because he's relied upon them to make a public

  22    disclosure --

  23                THE COURT:     Okay.       I --

  24                MS. MORRIS:      -- as you know.

  25                THE COURT:     I guess I don't have enough of a sense to

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   1    know that I -- which of you I agree with on whether there's a

   2    waiver of the privilege.          But the question is -- well, I don't

   3    have an answer.

   4                Mr. Orsini, is there -- you believe no waiver and

   5    privilege when you tell the SEC that we estimate our

   6    liabilities for the 2017 and '18 fires at thirty billion?                      I

   7    mean, that -- again, we're back to the simple interrogatory:

   8    what did you rely on to get the thirty billion?                 What's the

   9    answer?     If the only answer is, attorney work product, if

  10    that's your answer, that's what I want to hear.

  11                MR. ORSINI:      Well, Your Honor, there are a lot of

  12    public documents that were relied upon in coming up with those

  13    figures.     Those documents have been produced to the TCC.                   They

  14    were produced both by us as well as in connection with the

  15    whole Compass Lexecon STI issue that Your Honor probably

  16    remembers.

  17                THE COURT:     Yep.

  18                MR. ORSINI:      The way to resolve -- the way to -- the

  19    way that was resolved was an exchange of information -- public

  20    information; that was the stipulated resolution there.                   So the

  21    publicly available information, the documents, have been

  22    produced.

  23                There is also work product that was done by our

  24    litigation consulting experts that further support the

  25    thirty-billion-dollar number, and it is absolutely our view

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   1    that that expert work product remains one hundred percent

   2    protected by the work product doctrine.

   3                THE COURT:     Well, but --

   4                MS. MORRIS:      Your Honor, maybe I can make this simple

   5    for you.     Why don't we do this?          the TCC is perfectly wiling to

   6    send the debtors a set of interrogatories asking them to

   7    identify each and every document that they relied upon to come

   8    up with those numbers.         We would ask that they identify all

   9    those documents and whether or not they're claiming a privilege

  10    over those documents, and that Your Honor order them to respond

  11    to that on an expedited basis, so that we can get to the

  12    evidence matter, which is what are they withholding from us

  13    that they're not giving to us which we don't even know what

  14    that information is at this point.

  15                THE COURT:     Well, Ms. Morris, that might be the way to

  16    approach it.

  17                Mr. Orsini, I take it your statement -- your last

  18    statement there was, you absolutely rely on the litigation

  19    consultant's expert as privileged; I understand that.                   But you

  20    could say -- you could name it on a privilege log, couldn't

  21    you?

  22                MR. ORSINI:      I could name it on a privilege log, and

  23    we can also identify, with specificity, the public documents

  24    that were actually used to do these calculations, all of which

  25    they already have.

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   1                THE COURT:     Okay.       So it sounds to me that what your

   2    representation is, that the universe of data to get to that

   3    public -- I'm using the hypothetical thirty billion -- is a

   4    combination of what's already been produced plus what would be

   5    on the privilege log, but nothing else.               Is that what I'm to

   6    assume?    Because if there's --

   7                MR. ORSINI:       I think that's -- I think that's --

   8                THE COURT:     If there's something else --

   9                MR. ORSINI:       I that's generally right, Your Honor.

  10    (Indiscernible) --

  11                THE COURT:     If there's something else, then they're

  12    entitled to it.       Okay.

  13                MR. ORSINI:       No, no, I think that's right.           I mean, I

  14    would just state it slightly differently, which is that there

  15    were public documents that were relied upon for this.                   There

  16    was also expert work product by a litigation consultant to

  17    interpret those public documents -- just like they can, just

  18    like anybody else can.         But the actual mechanism of doing that

  19    analysis is what we believe is work product and that was part

  20    of the agreed resolution of the Compass Lexecon issue.

  21                And candidly, I wouldn't even know how to begin to log

  22    all of the materials and all of the work that was done by a

  23    litigation consultant; that would be highly unusual.

  24                THE COURT:     Well, I understand.         It would be.      I

  25    don't --

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   1                MS. MORRIS:      The point here, though, is that if

   2    they're -- regardless if they're using -- if they're using the

   3    same litigation consultant for purposes of estimation trials,

   4    and they're using the same litigation consultant for purposes

   5    of estimating for the SEC filings, there's no privilege because

   6    they're waiving the privilege by identifying that number in

   7    connection with their SEC filings.              The underlying documents

   8    and analysis that they're using to come up with that

   9    thirty-billion-dollar number is not privileged.

  10                THE COURT:     Well, all right.         Ms. Morris, you've said

  11    what you would inquire of.             You make -- you'd expedite a

  12    written interrogatory.         Mr. Orsini can respond, and if his

  13    response is all privileged, then that's the response.

  14                And I'll -- I'm not going to make a decision without

  15    it being briefed a little bit on this subject.                  I think we're

  16    clear on the subject of mediation privileges different from

  17    something else here.        And there may be some information that

  18    properly doesn't fall into what the expert has opined and what

  19    is filed with the SEC, and PG&E should at least explain what it

  20    is that might be in that category.

  21                And I don't know what else I can do about it today.                 I

  22    can't make a decision on a matter of this importance today.

  23    I'd like to think we've made some progress in the last two

  24    hours.    Hopefully, we have.

  25                MS. MORRIS:      Your Honor, if I could just ask for one

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   1    additional clarification?          Our experience in working with the

   2    debtors on discovery is that unless there's a motion to compel

   3    or a deadline that is provided by Your Honor, that we don't get

   4    all the information.        And so I would ask that the spreadsheet

   5    that Your Honor ordered earlier be produced in unredacted form,

   6    that we give the debtors a timeline by which to produce that

   7    information.     We're fine with two weeks, and think that's

   8    reasonable and more than sufficient time, given that they're

   9    already relying upon this information, and ask that Your Honor

  10    order that be produced within that time frame.

  11                THE COURT:     Two weeks from today is August 21st, Mr.

  12    Orsini.    Any problem with that?

  13                MR. ORSINI:      I obviously take exceptions -- I

  14    obviously take exceptions, Your Honor, to Ms. Morris's

  15    characterization of discovery history; I think that's

  16    fundamentally false.        But I have no objection to agreeing to

  17    produce those spreadsheets within two weeks.

  18                THE COURT:     Okay.

  19                Ms. Morris, your request is granted by your opponent.

  20                All right.     What else do we have --

  21                MS. MORRIS:      Thank you.

  22                THE COURT:     -- to deal with?        All right.       I'm going

  23    to -- if there are other parties on the call or want to be

  24    heard, I think I'm getting a little tired out, and my staff

  25    here is, and probably a lot of you are.               And I do think we made

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   1     some progress, and if not, not.

   2                 So I will call it a day.         I'm not going to try issue a

   3     formal order.        I couldn't actually do it.        If TCC or the debtor

   4     want to try to reduce this to a written order, I'll sign an

   5     order that opposing counsel has agreed to as to form.                 I like

   6     to think with the combination of the written transcript, the

   7     audio upload, and everybody paying attention to this, that's

   8     going to be adequate right now.           If we have a disagreement and

   9     we have to have a further hearing with somebody, a he said/she

  10     said, then we have a record to rely on.

  11                 I want to thank you all for your time and effort and I

  12     look forward to seeing some of you on Friday and many of you

  13     next week.     Thank you for your time today.

  14                 MR. ORSINI:      Thank you, Your Honor.

  15                 MS. MORRIS:      Thank you, Your Honor.

  16                 THE COURT:     Thank you.

  17             (Whereupon these proceedings were concluded at 11:43 PM)

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   1                                       I N D E X

   2     RULINGS:                                                         PAGE LINE

   3     Debtors ordered to produce requested                             99   19

   4     discovery to TCC on or before August 24,

   5     2019.

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   1                             C E R T I F I C A T I O N

   2

   3     I, Jennifer Hamilton, certify that the foregoing transcript is

   4     a true and accurate record of the proceedings.

   5

   6

   7

   8     ________________________________________

   9     /s/ JENNIFER HAMILTON

  10

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  13     Phoenix, AZ 85020

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  15     Date:    August 8, 2019

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